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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

    IN RE: JOHNSON & JOHNSON TALCUM Civil Action No. 3:16-md-
    POWDER PRODUCTS MARKETING,      2738-FLW-LHG
    SALES PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION            MDL No. 2738


    THIS DOCUMENT RELATES TO ALL
    CASES



     THE PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM IN
      RESPONSE AND OPPOSITION TO JOHNSON & JOHNSON AND
    JOHNSON & JOHNSON CONSUMER INC.’S MOTION TO EXCLUDE
    PLAINTIFFS’ EXPERTS’ OPINIONS REGARDING ALLEGED HEAVY
     METALS AND FRAGRANCES IN JOHNSON’S BABY POWDER AND
                       SHOWER-TO-SHOWER
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            The Plaintiffs’ Steering Committee (“PSC”) submits this Memorandum of

   Law in response and opposition to Defendants Johnson & Johnson and Johnson &

   Johnson Consumer Inc.’s Conditional Motion to Exclude Plaintiffs’ Experts’

   Opinions Regarding Alleged Heavy Metals And Fragrances In Johnson’s Baby

   Powder And Shower-to-Shower [Dkt. No. 9736-4]. For the foregoing reasons, this

   Court should deny Defendants Johnson & Johnson and Johnson & Johnson

   Consumer Inc.’s (hereinafter “J&J”) motion.

   I.       INTRODUCTION AND BACKGROUND

            A.    The J&J Talcum Powder Products are mixtures of numerous
                  components, including heavy metals, fragrance chemicals, and
                  fibrous talc

            At the outset, it is important to understand that the J&J Talcum Powder

   Products at issue in this litigation—Johnson’s Baby Powder and Shower-to-

   Shower 1—are mixtures of numerous constituents, including platy talc, fibrous talc,

   asbestos, heavy metals, and fragrance chemicals. 2 Several of these constituents are

   established human carcinogens, including asbestos, fibrous talc, and the metals

   nickel and chromium (VI). 3 This opposition sets forth the PSC’s opposition to J&J’s


   1
       Referred to herein as “Talcum Powder Products.”
   2
    See November 16, 2018 Report of Laura M. Plunkett, Ph.D., DABT (“Plunkett
   Report”) at 18, attached hereto as Exhibit 1.
   3
    IARC Monographs on Arsenic, Metals, Fibres, and Dusts: Volume 100 C, A
   Review of Human Carcinogens (2012), relevant excerpts attached hereto as Exhibit
                                             1
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   challenges to the PSC’s experts’ opinions regarding three components of the Talcum

   Powder Products—heavy metals (chromium, nickel, and cobalt), the fragrances

   (which are themselves mixtures of numerous chemicals), and fibrous talc.

                 B.    Heavy metals are present in the J&J Talcum Powder
                       Products, including known human carcinogens chromium
                       and nickel

           The heavy metals nickel and chromium (VI) are human carcinogens. 4 Nickel,

   chromium (VI), chromium (III), and cobalt are all inflammatory agents. 5 The PSC’s

   experts opine that these known carcinogens and/or inflammatory agents contribute

   to the inflammatory properties of the J&J Talcum Powder Products, thereby playing

   a role in the biologically plausible mechanism—inflammation—by which the

   Talcum Powder Products cause ovarian cancer. J&J largely ignores the PSC’s

   experts’ testimony about biological plausibility, instead arguing that it was necessary

   to consider dose response and thresholds of exposure to the individual metals in the

   products. For the reasons discussed in more detail below in Section II A, J&J’s


   2 (Introduction and Preamble); Exhibit 3 (Nickel); and Exhibit 4 (Chromium);
   See The Plaintiff Steering Committee’s Opposition Defendants’ Motion to Exclude
   Plaintiffs’ Experts’ Asbestos-Related Opinions. J&J’s fragrance is a mixture unto
   itself—the fragrance in Baby Powder is comprised of 141 constituents (some of
   which are themselves a mixture of chemicals) and the fragrance in Shower to Shower
   is comprised of 53 constituents.
   4
       IARC, 2012 (Exhibits 3 and 4).
   5
    IARC, 2012 (Exhibits 3 and 4); IARC Monograph on Cobalt in Hard Metals and
   Cobalt Sulfate, Gallium Arsenide, Indium Phosphide and Vanadium Pentoxide:
   Volume 86 (2006), relevant excerpts attached hereto as Exhibit 5.
                                             2
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   argument is without merit—neither Bradford Hill nor the EPA’s guidance on

   qualitative analyses of mixtures requires dose assessments of the individual

   constituents in a mixed product. The PSC and its experts allege the Talcum Powder

   Products as a whole cause ovarian cancer, and the constituent parts play a

   contributing role.

         It is beyond dispute that chromium, nickel, and cobalt are present in the J&J

   Talcum Powder Products. J&J’s own internal documents and tests establish that the

   heavy metals are 1) present in the Vermont mines that were used to source the

   Talcum Powder Products for decades, and 2) present in the finished products as

   well. 6 J&J cannot plausibly dispute that the heavy metals are present, and instead

   argues that the PSC’s experts’ opinions about the metals are flawed because they



   6
     See Exhibit 6, JNJ 000237076 (showing two Grade 66 samples from the
   Hammondsville mine in Vermont in 1991 contained high levels of chromium, cobalt
   and nickel); Exhibit 7, IMERYS 342524 (showing high levels of chromium, cobalt,
   and nickel in a 1997 annual composite sample of Grade 66 talc as measured using
   two different testing methods). Testimony from Imerys Talc America, Inc. employee
   Ms. Julie Pier establishes that testing was done on samples of finished products, see
   September 12-13, 2018 Deposition of Julie Pier (“Pier Dep.”), attached hereto as
   Exhibit 8 at 199:18-200:7 (“Q. A yearsly composit of the ore is made from each
   individual submission to be tested for metals. . .? . . .[I]ts on a yearly basis after the
   product is made.”); Pier Dep. at 203:7-9 (“…there is post-finished-product testing
   as well by all of the methods, the XRD, PLM and TEM.”); Pier Dep. at 413:5-7
   (“Samples were taken…using…an automatic sampler while the silos are being filled
   of finished product.”); Pier Dep. at 545:7-10 (“The quarterly finished product was
   from Vermont, and the finished product would have been Grade 66. Those were
   quarterly samples at that time.”). For a more thorough recitation of test results, see
   the Rule 26 Expert Reports of Drs. Cook and Krekeler.
                                               3
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    allegedly do not distinguish between the valence states of chromium—including

    chromium (VI) versus chromium (III)—and because they fail to consider the

    bioavailability of nickel. However, the PSC’s experts acknowledge the valence

    states of chromium, but J&J’s own testing did not distinguish between the two. 7

    Regardless, the two most common forms of chromium contribute to the

    carcinogenicity of the products as a whole because they both cause inflammation.

    Likewise, J&J argues that the PSC’s experts failed to consider the specific type and

    bioavailability of nickel in the products, but nickel (including all nickel compounds

    and metal) is classified by IARC as a Group 1 carcinogen in humans. 8 As explained

    below, the studies cited by J&J to support its argument only pertain to nickel sulfates,

    not the metal itself or its compounds. J&J’s arguments regarding chromium and

    nickel fail for these and other reasons, discussed in detail in Section II A.

                  C.    The secret chemicals in the J&J Talcum Powder Product
                        fragrances are not in compliance with regulatory standards
                        and contribute to the inflammatory properties, toxicity, and
                        potential carcinogenicity of the products as whole

            J&J Baby Powder is famous for its distinctive scent. However, the secret

    behind that fragrance is rather prosaic—a fragrance is nothing more than a mixture



    7
     See Exhibit 9, JNJ 000237115-19 (J&J used the BPT 148 procedure to test samples
    of finished talcum powder products on an annual basis—as Exhibit 9 makes clear,
    BPT 148 testing did not distinguish between the two forms of chromium).
    8
        IARC, 2012 (Exhibit 3).
                                               4
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    of chemicals. The FDA does not require companies to disclose the constituent

    chemicals in cosmetic fragrances to consumers, and J&J has therefore never revealed

    the identities of the chemicals in the Baby Powder and Shower-to-Shower fragrances

    to those who use the products. According to documents produced by J&J in this

    litigation, there are currently 141 chemicals in the Baby Powder fragrance and 53

    chemicals in the Shower-to-Shower fragrance. 9

             To complicate things further, some of those chemicals are themselves

    mixtures of other chemicals. 10 J&J’s documents also reveal that there have been

    changes to the fragrance formulas over the decades—for example, Benzene, ethenyl-

    (more commonly known as styrene) was a chemical used in the Baby Powder

    fragrance formula until J&J removed it in 2014.11 As discussed in more detail below,

    styrene was long classified by IARC as a 2B carcinogen—meaning it was possibly

    carcinogenic to humans. Today, styrene is classified as a 2A carcinogen—it is a

    probable human carcinogen. 12 J&J did not provide information regarding the precise

    quantities of each chemical in the fragrances, nor has J&J clarified whether the




    9
     See November 12, 2018 Expert Report of Michael M. Crowley, Ph.D. (“Crowley
    Report”) at 12, attached hereto as Exhibit 10.
    10
         Id. at 12.
    11
         Id. at 20.
    12
         See Exhibit 11, 2019 IARC 2A classification for styrene.
                                              5
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    quantities of each chemical changed over the decades that the products have been

    sold to consumers.

            The PSC’s expert Dr. Michael Crowley offers two opinions about the J&J

    talcum powder product fragrance chemicals in this litigation: 1) they are not in

    compliance with government and industry standards (another way to put it—they

    raise regulatory concerns); and 2) the chemicals contribute to the inflammatory

    properties, toxicity, and potential carcinogenicity of the J&J Talcum Powder

    Products as a whole. 13 Dr. Crowley conducted an exhaustive review of the available

    safety data and studies for each chemical and recorded the data in his report. He

    relies on his own education and extensive experience as a chemist who creates

    chemical formulations for use in consumer products to reach his opinions in this

    litigation. Despite his thorough review of the totality of evidence and his relevant

    experience in the field of chemical formulation, J&J argues that his opinions “lack

    good grounds,” that they are unreliable because of a lack of studies linking the

    chemicals to human ovarian cancer specifically, and because he did not consider

    dose response. All of J&J’s arguments are without merit for the reasons set forth in

    Section II B of this opposition.




    13
         Crowley Report at 12.
                                             6
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                   D.     Fibrous Talc, a known human carcinogen, is present in the
                          J&J Talcum Powder Products

             Talc (and other minerals) can occur in a fibrous form—this is referred to as

    being in the “asbestiform habit.” 14 Fibrous talc and asbestos are not the same thing,

    but “fibrous talc occurring in an asbestiform habit has the same dangerous

    carcinogenic properties as asbestos.” 15 Indeed, fibrous talc is classified as a known

    human carcinogen by IARC (a Group I carcinogen). The testing done by the PSC’s

    experts Drs. Longo and Rigler in this litigation demonstrate that fibrous talc is

    present in the J&J Talcum Powder Products 98% of the time. 16 The documents

    produced by J&J and Imerys Talc America, Inc. in this litigation also demonstrate

    that the mines used to source its Talcum Powder Products contained fibrous talc. 17

    A table prepared by Dr. Krekeler labeled “Presence of Fibrous Talc in Defendants’

    Ore” lists several tests from both the Vermont and Italian mines that sourced J&J




    14
      See November 16, 2018 Expert Report of Mark Krekeler, Ph.D. (“Krekeler
    Report”) at 3, attached hereto as Exhibit 12.
    15
         Id. at 14, citing IARC, 2012.
    16
      See January 15, 2019 Expert Report of William E. Longo and Mark W. Rigler
    (“Longo MDL Report”) at 11, 15, attached hereto as Exhibit 13 (“The MAS analysis
    showed fibrous talc in 41 of the 42 samples by the ISO PLM method and in three of
    the Blount PLM method.”) (emphasis supplied).
    17
      See, e.g., Exhibit 14, JNJ 000085374; Exhibit 15, JNJ 000238826; Exhibit 16,
    JNJS71R_000009825;        Exhibit   17,    JNJ     000346572;   Exhibit    18,
    JNJNL61_000027053; Exhibit 19, IMERYS 477879; and Exhibit 20,
    JNJS71R_000011316, all cited in Krekeler report at 23-29.
                                               7
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    Talcum Powder Products where fibrous talc was detected—the tests spanned from

    1945-1999. 18 To put it mildly, the “numerous examples showing [the] presence of

    fibrous talc are of significant concern both from a human health and from a quality

    control standpoint.” 19

             There is overwhelming evidence that carcinogenic fibrous talc is present in

    J&J’s Talcum Powder Products. In an attempt to exclude the PSC’s experts’

    opinions about fibrous talc, J&J makes a strained argument that the PSC’s experts

    have all somehow misunderstood the definition of fibrous talc. J&J further argues—

    without support—that its own documents identifying and describing fibrous talc are

    not actually referring to fibrous talc at all. J&J’s arguments are without merit for the

    reasons set forth in Section II C of this opposition, and the PSC’s experts’ opinions

    about the carcinogenic fibrous talc that is present in J&J’s Talcum Powder Products

    should not be excluded.

    II.      ARGUMENT

                      A.   THE PSC’S EXPERTS’ OPINIONS THAT THE HEAVY
                           METALS PRESENT IN J&J TALCUM POWDER
                           PRODUCTS PLAY A CONTRIBUTING ROLE IN
                           CARCINOGENESIS ARE WELL-SUPPORTED AND
                           RELIABLE




    18
         Krekeler Report at 23-29.
    19
         Id. at 14.
                                               8
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                           1.   There is ample scientific evidence supporting the
                                biologically plausible mechanism by which heavy
                                metals operate to cause inflammation and
                                carcinogenesis

            J&J contends that “there is no scientific support for the theory that exposure

    to any of the heavy metals that the PSC’s experts contend are present in talcum

    powder is capable of causing ovarian cancer.” 20 This statement is incorrect with

    respect to all three of the heavy metals discussed by the PSC’s experts: 1) both nickel

    and chromium VI have been classified by IARC as Group 1 carcinogens, meaning

    there is sufficient evidence of carcinogenicity in humans, and 2) cobalt has been

    classified by IARC as a Group 2B carcinogen, meaning it is possibly carcinogenic

    to humans. 21

            J&J’s argument focuses exclusively on the lack of studies linking the heavy

    metals specifically to ovarian cancer in humans. When the IARC Working Group

    conducts a causation analysis, it considers the Bradford-Hill criteria. 22 IARC

    considers all available data relevant to a classification of carcinogenicity, including

    epidemiological and experimental studies and mechanistic and other relevant data. 23




    20
         Def. Mem. at 1.
    21
         IARC, 2006 (Exhibit 5).
    22
         IARC, 2012 Preamble at 21 (Exhibit 2).
    23
      IARC, 2012 Preamble at 12-14 (Exhibit 2). IARC defines ‘carcinogenic’ as
    “capable of increasing the incidence of malignant neoplasm, reducing their latency,
                                               9
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    IARC also considers whether there is causation for multiple tumor types,

    temporality, effect, biological plausibility, changes at the cellular and molecular

    level, and the coherence of the overall data—the assessment is not based on the

    availability of studies on a specific type of cancer. 24

             The sufficient evidence of carcinogenicity standard needed for a Group 1

    classification is met when, “a causal relationship has been established between

    exposure to the agent and human cancer.” 25 Specific organs and tissues are identified

    where studies have specifically shown increased cancer risk, but the overall

    evaluation focuses on carcinogenicity where the agent acts through a ‘relevant

    mechanism,’ – findings applicable to all organs, including the ovaries. 26 This focus

    was discussed by Dr. Zelikoff, who refers to the extensive testing in cells and

    animals and states that there is no reason to believe the metals would not have the

    same carcinogenic effects in the ovary as they do in other organs. 27




    or increasing their severity or multiplicity.” Id. The terms ‘neoplasm’ and ‘tumo[u]r’
    are used interchangeably. Id.
    24
         IARC, 2012 Preamble at 21, 22 (Exhibit 2).
    25
         Id. at 29.
    26
         Id. at 30-32.
    27
      See January 21, 2019 Deposition of Judith Zelikoff, Ph.D. (“Zelikoff Dep.”) at
    983:22-294:12, attached hereto as Exhibit 21.
                                               10
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            IARC published a monograph evaluating the carcinogenic risks posed to

    humans by arsenic, metals, fibres, and dusts in 2012, 28 and published a monograph

    evaluating the carcinogenic risks posed to humans by cobalt in hard metals and

    cobalt sulfate, gallium arsenide, indium phosphide and vanadium pentoxide in

    2006.29 As part of the expert reviews, the IARC Working Group evaluated relevant

    data, including genetic effects, oxidative stress, DNA damage and repair, and cell

    proliferation. The Agency for Toxic Substances and Disease Registry (ATSDR) has

    also described the carcinogenic mode of action (or mechanism) for nickel: “The

    available evidence suggests that, mechanistically, nickel carcinogenicity is probably

    the result of genetic factors and/or direct (e.g., conformational changes) or indirect

    (e.g., generation of oxygen radicals) epigenetic factors. Additionally, certain nickel

    compounds promote cell proliferation, which would convert repairable DNA lesions

    into nonrepairable mutations. Nickel is considered to be genotoxic…” 30

            And according to the ATSDR, chromium (VI), chromium (V), and chromium

    (IV) “have all been shown to be involved in Fenton-like oxidative cycling,




    28
         IARC, 2012.
    29
         IARC, 2006.
    30
      The Agency for Toxic Substances and Disease Registry (ATSDR) Toxicological
    Profile for Nickel (August 2005) at 155, relevant excerpts attached hereto as Exhibit
    22.
                                             11
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    generating oxygen radical species…” 31 “It is believed that the formation of these

    radicals, which leads to oxidative stress, may be responsible for many of the

    deleterious effects of chromium on cells…” 32 ATSDR describes the mechanism of

    action for cobalt to include the following: “Exposure to soluble cobalt increases

    indices of oxidative stress, including diminished levels of reduced glutathione,

    increased levels of oxidized glutathione, activation of the hexose monophosphate

    shunt, and free-radical-induced DNA damage…” 33 The NTP has listed chromium

    (VI) 34 and nickel 35 as “known to be human carcinogens”, while cobalt is listed as

    “reasonably anticipated to be human carcinogens.” 36

               IARC and the ATSDR both noted that the biological activities of all three

    metals, chromium (VI), cobalt, and nickel, result in inflammatory cell responses

    through oxidative stress, the formation of reactive oxygen species (ROS), and



    31
      The Agency for Toxic Substances and Disease Registry (ATSDR) Toxicological
    Profile for Chromium (September 2012) at 281, relevant excerpts attached hereto as
    Exhibit 23.
    32
         ATSDR, 2012 (Exhibit 23) at 282.
    33
      The Agency for Toxic Substances and Disease Registry (ATSDR) Toxicological
    Profile for Cobalt (April 2004) at 154, relevant excerpts attached hereto as Exhibit
    24.
    34
       National Toxicology Program (NTP), 14th Report on Carcinogens (2016),
    relevant excerpts regarding chromium, nickel, and cobalt attached hereto as Exhibit
    25.
    35
         Id.
    36
         Id.
                                              12
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    resultant DNA damage and genotoxic effects. These biologic activities are the same

    biologically plausible modes of action for Talcum Powder Products and ovarian

    cancer cited to by the PSC’s experts. J&J’s argument that there is insufficient

    evidence to support the PSC’s experts’ opinions about the heavy metals in Baby

    Powder and Shower-to-Shower and the biological mechanism by which they operate

    is without merit, and the opinions should not be excluded. 37

                              2.    A qualitative analysis is appropriate for
                                    assessing the safety of mixtures like J&J’s Baby
                                    Powder and Shower-to-Shower

          As stated above, J&J’s Baby Powder and Shower-to-Shower are mixtures

    composed of numerous constituents, including platy talc, fibrous talc, asbestos,

    heavy metals (cobalt, nickel and chromium), and fragrance chemicals. Asbestos,

    fibrous talc, and the metals nickel and chromium are known human carcinogens.

    Mixtures are defined “as any combination of two or more chemical substances




    37
       As Daubert specifically recognized, “cross-examination, presentation of contrary
    evidence, and careful instruction on the burden of proof” are the ordinary means to
    attack an opposing expert. Daubert v. Merrell Dow Pharmaceuticals, Inc., 509
    U.S. 579, 596 (U.S. 1993). The United States Supreme Court has recognized that
    there is a range in which experts might reasonably differ on issues of science, and
    that such conflicting evidence should be admitted to aid the jury in deciding those
    issues. See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 1953 (1999); Ambrosini
    v. Labarraque, 101 F.3d 129, 138-139 (D.C. Cir. 1996); Globetti v. Sandoz Pharm.
    Corp., 111 F.Supp. 2d 1174, 1176 (N.D. Ala. 2000).

                                             13
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    regardless of source or of spatial or temporal proximity.” 38 The EPA’s

    Supplementary Guidance for Conducting Health Risk Assessment of Chemical

    Mixtures sets forth the human risk assessment process to use on mixtures like the

    J&J’s Talcum Powder Products that contain carcinogenic components. 39

               The EPA specifically recognizes that “most frequently, not all components of

    the mixture are known, exposure data are uncertain, and toxicologic data on the

    known components of the mixture are limited.” 40 Where this occurs, as in the case

    with the J&J’s Talcum Powder Products, the lack of quantitative data may lead the

    risk assessor to decide that a qualitative analysis should be performed. 41 This

    generally occurs in cases where data quality is poor, adequate quantitative data is

    not available, data on a similar mixture cannot be classified as sufficiently similar to

    the mixture of concern, exposures cannot be characterized with confidence, or where

    method-specific assumptions about the toxicologic action of the mixture or its

    components cannot be met.




    38
       USEPA 2000 “Supplementary Guidance for Conducting Health Risk Assessment
    of      Chemical      Mixtures,”       2000      at     Appendix    A,     A-1.
    https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=20533 (last accessed May
    23, 2019), relevant excerpts attached hereto as Exhibit 26.
    39
         Id.
    40
         Id. at Appendix A, A-1 (emphasis supplied).
    41
         Id. at 11.
                                                14
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               A qualitative assessment is appropriate for characterizing the potential human

    health impacts from exposure to mixtures in these situations. 42 In the case of

    mixtures containing known carcinogens, the default approach is to assume that there

    are additive effects among the constituents, or “potential interactions among the

    components.” 43 This approach is appropriate for assessing the J&J’s Talcum Powder

    Products—which again, are mixtures containing known carcinogens—and is fully

    supported by the PSC’s experts and the scientific literature.

                                  3.     Proof of causation, dose response, and thresholds
                                         of exposure are not required as part of a
                                         qualitative risk assessment and are not necessary
                                         to support the PSC’s experts’ opinions because
                                         there are established “biologically plausible”
                                         mechanisms explaining how the heavy metals
                                         promote cancer

               J&J incorrectly asserts that proof of causation, dose-response, and thresholds

    of exposure are required to support the PSC’s experts’ opinions about the heavy

    metals in the products. However, these factors are not required under the qualitative

    risk assessment process approved by the EPA and described above. Nor does the

    Bradford-Hill analysis require a dose assessment of the individual constituents in

    mixed products like the J&J’s Talcum Powder Products. Rather, the Bradford-Hill

    dose response analysis looks at the duration and frequency of exposure of the entire


    42
         Id.
    43
         Id. at A-7.
                                                 15
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    product with reference to the epidemiological data as a whole. 44 The PSC’s

    allegation is that the J&J’s Talcum Powder Products as a whole—that is, the mixture

    of all constituent parts—cause ovarian cancer, not any single constituent part acting

    alone.

             And, dose-response and threshold determinations are distinct and separate

    from the Bradford Hill biologic plausibility mode of action that the PSC’s experts’

    opinions are based on. The term “mode of action” is defined by the USEPA as “a

    series of key events and processes starting with interaction of an agent with a cell

    and proceeding through operational and anatomical changes causing disease

    formation.” 45 This definition is also consistent with the Bradford-Hill aspect of

    plausibility.

             Biologic plausibility (one of the Bradford-Hill aspects of association)

    “depends upon existing knowledge about the mechanisms [mode of action] by which

    the disease develops [and] on the extent of scientific knowledge about the cellular

    and subcellular mechanisms through which the disease process works.” 46 “What is




    44
      See the PSC’s Memorandum of Law in Response and Opposition to Defendants’
    Johnson & Johnson and Johnson & Johnson Consumer Inc.’s Motion to Exclude
    Plaintiffs’ General Causation Opinions (“PSC Gen. Causation Opp.”).
    45
         USEPA, 2000 (Exhibit 26) at 10.
    46
      Reference Manual on Scientific Evidence, Reference Guide on Epidemiology,
    Third Edition (2011) at 604-05.
                                             16
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    biologically plausible depends upon the biological knowledge of the day.” 47 Given

    the complexity of cancer biology, a biologically plausible mechanism should not

    have to establish “all levels of scientific explanation” for “each step” in the cancer

    process as this is “too stringent” and “overdemanding.” 48        What is required,

    however, is that the proposed “mode of action and the events that are part of it be

    based on current understanding of the biology of cancer to be accepted.” 49 The use

    of an adverse pathway model is also a recognized approach to determining a

    biological plausible mechanism. In this model, the chemical toxicities and properties

    of a chemical [toxicant] is first considered and characterized then followed along a

    toxicity pathway that investigates the toxicants molecular (DNA) interaction and

    impact, cellular responses, and organ responses followed by an investigation of

    population responses (epidemiology).50




    47
       Hill, A.B., The Environment and Disease. Proc R Soc Med; 1965, 58(5):295-300,
    attached hereto as Exhibit 27.
    48
      Weed, D.L. and Hursting, S.D. Biologic Plausibility in Causal Inference: Current
    Method and Practice. Am J Epidemiology; 1998, 147(5): 415-425, 421, attached
    hereto as Exhibit 28.
    49
       Golden, R., Pyatt, D., Shields, P.G. Formaldehyde as a Potential Human
    Leukemogen: An Assessment of Biological Plausibility. Crit Rev Toxicology; 2006,
    36(2):135-153, 148, attached hereto as Exhibit 29.
    50
      Dailey, J., Rosman, L., Silbergeld, E.K. Evaluating Biological Plausibility in
    Supporting Evidence for Action through Systematic Reviews in Public Health.
    Public Health. 2018; 165:48-57, attached hereto as Exhibit 30.
                                             17
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             This is precisely the model the PSC’s experts appropriately used to assess the

    role of the constituent parts of the J&J Talcum Powder Products, and their respective

    testimony is consistent regarding the heavy metals’ biologically plausible

    mechanism—inflammation: 51

             •      Dr. Carson testified that a dose response assessment is not
                    necessary as part of a qualitative analysis: “A qualitative
                    risk assessment does not necessarily require a dose-
                    response in order to reach valid conclusions.” 52

             •      Dr. Carson also testified that the heavy metals contribute
                    to the inflammatory process and carcinogenicity: “…my
                    opinion is that any [amount of nickel, chromium, cobalt]
                    within the microenvironment of the inflammatory process
                    that is occurring due to talc sequestration is contributing
                    to the carcinogenic potential.” 53

             •      Dr. Levy testified that chronic inflammation is a well-
                    established biologic mechanism of cancer, including
                    ovarian cancer, both in the initiation and the progression
                    of the cancer. 54 He described the role of inflammation in
                    cancer as a “fundamentally accepted aspect of cancer
                    biology” 55 and not a “hypothetical.” 56 Dr. Levy further

    51
      Constituents of Talcum Powder Products with a contributory role in ovarian
    cancer risk include platy talc, heavy metals (chromium, nickel and cobalt), asbestos
    and fibrous talc.
    52
     See January 19, 2019 Deposition of Arch I. “Chip” Carson, M.D., Ph.D. (“Carson
    Dep.”) at 173:8-10, attached hereto as Exhibit 31.
    53
         Id. at 171:16-21.
    54
      See January 11, 2019 Deposition of Shawn Levy, Ph.D. (“Levy Dep.”) at 116:17-
    24 and 117:1-2, attached hereto as Exhibit 32.
    55
         Id. at 263:2-17.
    56
         Id. at 294:1-14.
                                                18
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                      described the established carcinogenic mechanisms of
                      chromium and nickel to include “DNA damage, mutation,
                      genomic instability, and cell transformations.” 57 He stated
                      that cobalt was “shown to increase production of reactive
                      oxygen species (ROS) and other inflammatory and
                      proliferative changes.” 58 The presence of the known
                      carcinogens nickel and chromium, as well cobalt, which is
                      “reasonably anticipated” to be carcinogenic, in talcum
                      product supports his opinion that the Talcum Powder
                      Products cause inflammation. 59

             •        Dr. Zelikoff testified, “There is no literature that says you
                      need one particle or ten particles. The inflammatory
                      response that nickel causes is extremely well established,
                      even at very low concentrations. And…the same is true for
                      hexavalent chromium and for chromium, trivalent
                      chromium.” 60 She further explained that “a single
                      exposure to a certain concentration, whatever that
                      concentration is, can produce effects…it can start the
                      process of either inflammation or oxidative stress.” 61

             •        Dr. Plunkett testified that, “Inflammation is a well-
                      studied mechanism of carcinogenesis.” 62 In outlining the
                      role of inflammation in cancer, Dr. Plunkett explained:
                      “there are several basic facts about inflammation and
                      cancer that include the following: (1) chronic
                      inflammation increases cancer risk; (2) subclinical, often
                      undetectable inflammation may be as important in
                      increasing cancer risk; (3) various types of immune and
                      inflammatory cells are frequently present within tumors;
    57
      See November 16, 2018 Expert Report of Shawn Levy, Ph.D., (“Levy Report”) at
    16, attached hereto as Exhibit 33.
    58
         Id. at 16.
    59
         Id.at 16.
    60
         Zelikoff Dep. at 293:1-11 and 282:1-24.
    61
         Id. at 368:10-369:15.
    62
         Plunkett Report at 45.
                                                   19
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                      (4) immune cells affect malignant cells through production
                      of cytokines, chemokines, growth factors, prostaglandins,
                      and reactive oxygen and nitrogen species; (5)
                      inflammation impacts every single step of tumorigenesis,
                      from initiation through tumor promotion, all the way to
                      metastatic progression; (6) in developing tumors anti-
                      tumorigenic and pro-tumorigenic immune and
                      inflammatory mechanisms coexist, but if the tumor is not
                      rejected, the pro-tumorigenic effect dominates; (7)
                      signaling pathways that mediate the pro-tumorigenic
                      effects of inflammation are often subject to a feed-forward
                      loop; and (8) certain immune and inflammatory
                      components may be dispensable during one stage of
                      tumorigenesis but absolutely critical in another stage.” 63

             •        For the Talcum Powder Products and their heavy metal
                      constituents (cobalt, chromium, and nickel), Dr. Plunkett
                      concluded, “…the scientific literature on the biological
                      effects of talc, as well as asbestos and other constituents
                      routinely found in talc provide sufficient evidence to show
                      that these chemicals produce cellular changes that have
                      been linked to carcinogenesis and that the biological
                      mechanism for carcinogenesis (ovarian and/or lung)
                      following exposure to Talcum Powder Products likely
                      involves induction of a chronic inflammatory response. A
                      review of the IARC monographs for talcum powder
                      product constituents, such as asbestiform talc and non-
                      asbestiform talc, nickel, cobalt, and chromium, reveals
                      similarities in the biological effects that are discussed as
                      underlying the carcinogenic potential of the individual
                      compounds.” 64

             •        Dr. Plunkett further explained that, “ the available data
                      relating to mechanism of carcinogenicity of Talcum
                      Powder Products, where the body powders are a mixture
                      of compounds with carcinogenic hazard, indicate that the

    63
         Id. at 45.
    64
         Id. at 46.
                                                  20
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                      various compounds in Talcum Powder Products would be
                      expected to produce at least an additive effect on the risk
                      of cancer based on their ability to induce similar biological
                      responses that underly[sic] carcinogenesis.” 65 Dr. Plunkett
                      also explained that the three heavy metals (cobalt,
                      chromium, and nickel) have a similar biological
                      plausibility mechanism—they cause irritation and
                      inflammation. 66

             •        Dr. Plunkett also discussed the complex mixture of J&J
                      Talcum Powder Products, indicating that “when you have
                      a complex mixture that has added to it things like asbestos
                      and heavy metals, because I talk about the additivity issue
                      that can come to play. So that -- in other words, [there is
                      an] increased risk when you have a complex mixture with
                      additional components that all share the same toxic
                      properties as far as target organs or types of effects or
                      mechanisms that are triggered in the body.” 67

             •        Dr. Carson similarly recognized that “talcum powder
                      may contain varying amounts of chromium, cobalt and
                      nickel, metal ions that are recognized as cancer causing.” 68
                      Dr. Carson reported, “these ions leach out of the talcum
                      powder slowly over time, resulting in continuous, low-
                      level exposure of the surrounding tissues to carcinogenic
                      metals” 69 and that “the presence of carcinogenic metals
                      such as, chromium, cobalt and nickel, and toxic fragrance
                      components in commercial Talcum Powder Products,



    65
         Id. at 47.
    66
      See December 19, 2018 Deposition of Laura Plunkett (“Plunkett Dep.”) at 268:7-
    13, attached hereto as Exhibit 34.
    67
         Id. at 146:11-21.
    68
      See November 16, 2018 Expert Report of Arch “Chip” Carson, M.D., Ph.D.
    (“Carson Report”) at 5, attached hereto as Exhibit 35.
    69
         Id. at 5.
                                                   21
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                      adds to their carcinogenic potency.” 70 In describing the
                      mode of action of these metals, Dr. Carson reported that
                      they are “liberated in bodily fluids and tissues and are free
                      to exert their carcinogenic effects” 71 and “once reaching
                      the target tissues, talcum powder and its constituents
                      initiate carcinogenesis via multiple means, including,
                      inflammation with chemotaxis of inflammatory cells,
                      liberation of cytokines, and reactive oxygen species,
                      inactivation of TP53 genetic modulator, inhibition of
                      DNA repair, and long-term promotion of genetic
                      mutations via continuous inflammation and cellular
                      growth stimulation.” 72

             As discussed in great detail above, the PSC’s experts did not need to conduct

    a dose response assessment of the individual constituents because they evaluated the

    Talcum Powder Products as a whole—that is, as a mixture of the constituents. It is

    the entire product, including its constituents, that trigger carcinogenesis. 73 Further,

    as Dr. Zelikoff testified, it would be difficult if not impossible to analyze the talc

    separately from all of the other constituent parts in the products: “I’m not even sure

    how that would be done or I don’t think it could be done.” 74 Dr. Zelikoff further

    explained that there are in vitro studies where the products containing the constituent

    parts were applied to human ovarian cells and caused an inflammatory response:



    70
         Id. at 7.
    71
         Id. at 8.
    72
         Id. at 10.
    73
         Zelikoff Dep. at 270:20-271:16.
    74
         Zelikoff Dep. at 271:18-272:4.
                                                   22
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    “…in vitro studies like those of [Dr.] Saed who looked for oxidative stress…[and

    Dr.] Shukla…who also looked at…human ovarian cells…[and] changes in gene

    expression associated with oxidant production and reactive oxygen species

    production.” 75

                        4.   J&J has no factual basis for its argument that
                             Chromium (VI), an inflammatory agent and known
                             carcinogen, is not present in the Talcum Powder
                             Products

            J&J argues that the PSC’s experts’ opinions are unreliable because they

    “ignore” the valence state of chromium found in talc. J&J’s experts assert “if

    chromium is present in talc products, it is most likely in the form of chromium

    (III)”. 76 J&J makes unsubstantiated guesses about what is “most likely” in the J&J

    Talcum Powder Products in an attempt to minimize the PSC’s experts’ opinions



    75
      Zelikoff Dep. at 296:16-297:14; see Fletcher, NM, Harper AK, Memmaj I, Fan R,
    Morris, RT, Saed, GM. “Molecular basis supporting the association of talcum
    powder use with increased risk of ovarian cancer.” Reprod. Sci. 2019 Feb
    28:1933719119831773. Doi: 10.1177/1933719119831773, attached hereto as
    Exhibit 36. Saed, Ghassan M., Robert T. Morris, and Nicole M. Fletcher. Chapter
    4: New Insights of into the Pathogenesis of Ovarian Cancer: Oxidative Stress.
    (October 24, 2018), attached hereto as Exhibit 37. Shukla, Arti, Maximilian B.
    MacPherson, Jedd Hillegass, Maria E. Ramos-Nino, Vlada Alexeeva, Pamela M.
    Vacek, Jeffrey P. Bond, Harvey I. Pass, Chad Steele, and Brooke T. Mossman. 2009.
    “Alterations in Gene Expression in Human Mesothelial Cells Correlate with Mineral
    Pathogenicity.” American Journal of Respiratory Cell and Molecular Biology 41
    (1): 114–23. https://doi.org/10.1165/rcmb.2008-0146OC.), attached hereto as
    Exhibit 38.
    76
         Def. Mem. at 34.
                                            23
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    regarding the presence of a known carcinogen—chromium (VI). The PSC’s experts

    agree with J&J’s experts that chromium exists in different forms, and that the most

    prevalent forms are chromium (III), or trivalent chromium, and chromium (VI), or

    hexavalent chromium. Experts for the PSC and J&J also agree that chromium (VI)

    is a carcinogen 77 and is “strongly oxidizing,” 78 which the NTP and Dr. Zelikoff

    explain essentially means irritating, corrosive, and toxic systemically. 79 The PSC’s

    general causation case is based in part on the fact that Talcum Powder Products cause

    inflammation at the site of the ovary and/or fallopian tube and inflammation causes

    ovarian cancer. Chromium (VI) is an inflammatory agent as, to an extent, is

    chromium (III), 80 both of which contribute to the inflammatory milieu that results in

    the development of epithelial ovarian cancer.

             First, J&J acknowledges that chromium (VI) is a carcinogen, but claims that

    “few of those studies provide ‘adequate exposure data for use in risk estimation.’” 81


    77
      See February 25, 2019 Expert Report of Kelly Scribner Tuttle, Ph.D., CIH (“Tuttle
    Report”) at 37-38, attached hereto as Exhibit 39; see also April 4, 2019 Deposition
    of H. Nadia Moore, Ph.D., DABT, ERT (“Moore Dep.”) at 287:7-8, attached hereto
    as Exhibit 40; see also February 25, 2019 Expert Report of H. Nadia Moore, Ph.D.,
    DABT, ERT (“Moore Report”) at 53, attached hereto as Exhibit 41.
    78
      Moore Report at 52; see also November 16, 2018 Expert Report of Judith Zelikoff,
    Ph.D. (“Zelikoff Report”) at 10, attached hereto as Exhibit 42.
    79
         NTP, 2016 (Exhibit 25); see also Zelikoff Report at 10.
    80
       IARC Monograph on Chromium, Nickel and Welding, Volume 49 (1990),
    relevant excerpts attached hereto as Exhibit 43; IARC, 2012 (Exhibit 4).
    81
         Def. Mem. at 32.
                                              24
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    J&J makes this assertion even though its experts and the PSC’s experts cite to

    agencies like IARC to verify chromium (VI)’s status as a human carcinogen. IARC

    considered dose as part of its determination that chromium is a Group I carcinogen—

    specifically, it used a Bradford Hill analysis as the framework for determining

    causation. 82 Under those rigorous standards, IARC considered dose ranges, dose that

    reached the target (exposure) and dose-response data. 83 The NTP also concluded that

    chromium (VI) compounds are carcinogenic in humans in its 14th Report on

    Carcinogens. 84 In doing so, the NTP specifically evaluated human exposure, as well

    as toxicokinetics, mechanism, and studies in humans and animals. 85 The PSC’s

    experts evaluated the Talcum Powder Products as a whole because it is the entire

    product (the mixture of all constituents), that trigger carcinogenesis. 86 Indeed, the



    82
         IARC, 2012 (Exhibit 2).
    83
         Id. at 24, 25, 28, 31.
    84
         NTP, 2016 (Exhibit 25).
    85
         Id. at 2.
    86
       See Carson Report at 8; see also Plunkett Report at 47 (“[w]hen considered
    together with general principles of toxicology, the available data relating to
    mechanism of carcinogenicity of talcum powder products, where the body powders
    are a mixture of compounds with carcinogenic hazard, indicate that the various
    compounds in talcum powder products would be expected to produce at least an
    additive effect on the risk of cancer…”); see also February 7, 2018 Deposition of
    Rebecca Smith-Bindman, M.D. (“Smith-Bindman Dep.”) at 137:9-12, attached
    hereto as Exhibit 44 (“To the degree that [heavy metals, asbestos and fibrous talc]
    are all part and parcel of the same product, they’re not – I wouldn’t think of them as
    contaminants”); Zelikoff Dep. at 270:20-271:16.
                                             25
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    presence of constituents like heavy metals were evaluated as part of the total risk

    profile. 87 And, in vitro studies where talcum powder product is applied demonstrate

    a cellular response, 88 demonstrating a reaction to the product as a whole, including

    constituents like heavy metals. Further, the PSC’s experts clarify that “a single

    exposure to a certain concentration, whatever that concentration is, can produce

    effects…it can start the process of either inflammation or oxidative stress.” 89

             Second, J&J’s expert Dr. Moore states in her report that chromium (VI) “has

    been shown to be a carcinogen with high occupational exposures of airborne

    chromium (VI) associated with increased risk of respiratory (lung) cancer (but not

    dermal).” 90 This statement is misleading because it insinuates that an assessment has

    not been done for dermal routes such as the perineum. The IARC Working Group

    considers all available data relevant to an assessment of carcinogenicity, including

    epidemiological and experimental studies and mechanistic and other relevant data, 91




    87
      Carson Report at 6, 7; Plunkett Dep. at 226:8-10 (“What people are exposed to is
    the complex mixture, not just each one of those individual components.”).
    88
         Zelikoff Dep. at 296: 16-297:14; see also Exhibits 36, 37, and 38.
    89
         Zelikoff Dep. at 368:10-369:15; see also Carson Dep. at 171:16-21.
    90
         Moore Report at 1.
    91
       IARC, 2012 (Exhibit 2). IARC defines ‘carcinogenic’ as “capable of increasing
    the incidence of malignant neoplasm, reducing their latency, or increasing their
    severity or multiplicity.” (Id. at 12). The terms ‘neoplasm’ and ‘tumo[u]r’ are used
    interchangeably. (Id.).
                                              26
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    and the NTP has a similar process. 92 Consideration is given to whether there is

    causation for multiple tumor types, the temporality, effect, biological plausibility,

    changes at the cellular and molecular level and coherence of overall data; it is not

    based on availability of studies on a specific cancer type. 93 When sufficient evidence

    is found to classify it as a Group I carcinogen, “a causal relationship has been

    established between exposure to the agent and human cancer.” Specific organs and

    tissues are identified where studies have specifically shown increased cancer risk, 94

    but the overall evaluation is of carcinogenicity where the agent acts through a

    ‘relevant mechanism,’ – findings applicable to all organs, including the ovaries. 95

    This is supported by both Drs. Plunkett and Zelikoff who point out the similarity in

    the mechanism of carcinogenesis established by both in vitro and in vivo studies. 96

            Third, J&J asserts that the PSC’s experts attribute chromium in talcum powder

    to contributing to the product’s carcinogenic effects without distinguishing between

    valence states. This contention is simply untrue, as the difference between the


    92
         NTP, 2016 (Exhibit 25).
    93
         IARC, 2012 (Exhibit 2).
    94
      Available studies that involved chromium carcinogenicity in humans consisted of
    lung and nose and nasal sinuses, as cited by IARC, 2012.
    95
         IARC, 2012 (Exhibit 2).
    96
       See Plunkett Dep. at 273:7-274:1 (“…regardless of where the cancer is
    developing, the fact that these compounds have the ability to stimulate similar toxic
    responses in tissues could lead to…cancer development.”); see also Zelikoff Dep. at
    293:22-294:12.
                                              27
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    valence states is pointed out in numerous PSC’s experts’ reports. 97 Further, Dr. Cook

    testified that he is aware of the distinction between chromium III and IV, as they are

    the two forms most often associated with rock, and explained that the testing

    procedures done by J&J “would not distinguish between the two.” 98 Dr. Krekeler

    also testified that he saw no regular testing performed by J&J or Imerys Talc

    America, Inc. that distinguished the between amount of hexavalent versus trivalent

    chromium in the finished products. 99

             Cellular response to chromium depends on the form of the chromium. 100 The

    form of the chromium in turn depends upon its environment, as Dr. Carson explained

    at his deposition: the specific valence state of chromium in cosmetic talc is

    “dependent on the surrounding structure that the metals are contained in, and the

    metals can assume a different valence state depending on the redox environment.” 101



    97
      Zelikoff Report at 9; Krekeler Report at 7; see also November 15, 2018 Expert
    Report of Rebecca Smith-Bindman, M.D. (“Smith-Bindman Report”) at 16, attached
    hereto as Exhibit 45.
    98
      See January 30, 2019 Deposition of Robert Cook, Ph.D. (“Cook Dep.”) at 402:15-
    404:10, attached hereto as Exhibit 46.
    99
      See January 25, 2019 Deposition of Mark Krekeler, Ph.D. (“Krekeler Dep.”) at
    313:1-314:15, attached hereto as Exhibit 47; see Exhibit 9, JNJ 000237115-19 (J&J
    used the BPT 148 procedure to test samples of finished talcum powder products on
    an annual basis—as Exhibit 9 makes clear, BPT 148 testing did not distinguish
    between the two forms of chromium).
    100
          Zelikoff Dep. at 321:2-321:20.
    101
          Carson Dep. at 180:17-181:3.
                                             28
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    Dr. Plunkett explained that both chromium (III) and chromium (VI) have toxic

    properties, with varying levels of safe exposure. 102 And Dr. Smith-Bindman

    specifically distinguishes the chromium (VI) valence state when she describes its

    mechanism of carcinogenicity in her report. 103 Clearly, the PSC’s experts are aware

    of the potential valence states of chromium. 104 However, their opinions are

    necessarily based on J&J’s historical testing data from 1972 through 2003 that J&J

    made available in this litigation. J&J was aware of the different valence states of

    chromium but selected a testing procedure that failed to distinguish between

    chromium (III) and chromium (VI). 105 Having failed to conduct the necessary

    testing, J&J cannot now ask the court to assume that all chromium found was

    chromium (III).




    102
       Plunkett Dep. at 411:11-16 (“Both chrome III and chrome VI have toxic
    properties, specifically irritant properties as well, but they may be looked at
    separately, for example, in the regulatory context when you set safe levels of
    exposure.”)
    103
          Smith-Bindman Report at 16.
    104
       All of the PSC’s experts who refer to the carcinogenicity of chromium cite to
    IARC, 2012, which clearly and specifically discusses the carcinogenicity of
    chromium (VI) as distinguished from chromium (III).
    105
       Cook Dep. at 403:21-404:4 (“…the technique used by Johnson & Johnson would
    not distinguish between the two, and their – their specs don’t try to distinguish
    between the two”); see also Plunkett Dep. at 411:2-7 (“Ionic chromium as detected
    within the documents that – where the measurement were made of the actual talc
    samples that were processed and made into baby powder, which did not necessarily
    distinguish between chrome III and chrome VI.”).
                                            29
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          Fourth, J&J criticize the PSC’s experts for not offering an opinion as to which

    valence state of chromium is present in the Talcum Powder Products. Again, this is

    an unfair criticism because none of the routine testing that J&J or Imerys Talc

    America, Inc. performed on talc ore or Talcum Powder Products differentiated

    between the chromium (III) and chromium (VI) valence states. Further, the PSC’s

    experts did not engage in their own testing of talc ore or powder samples for heavy

    metals. Rather, they reviewed and reported on J&J’s and Imerys Talc America, Inc.’s

    testing and the testing performed by third parties on their behalves. J&J focuses its

    criticism on Drs. Cook and Krekeler, both of whom not only acknowledge that

    chromium has different valence states, but also highlight J&J’s use of a deficient

    testing methodology that cannot distinguish between a chromium (III) to chromium

    (VI) ratio. 106 Additionally, J&J knew that chromium (VI) exists in talc mines—that

    knowledge is reflected in internal documents reviewed by the PSC’s experts. 107

    Plaintiffs know of only one instance where J&J tested for chromium (VI) in “Talc




    106
        Cook Dep. at 403:21-404:10 (“…the technique used by Johnson & Johnson
    would not distinguish between [[chromium (III) versus chromium (VI)], and their –
    their specs don’t try to distinguish between the two…”); see also Krekeler Report at
    36 (“No routine testing was done to determine the ratio of Chromium III to
    Chromium VI.”).
    107
       Exhibit 48, JNJ 000131754 at 755 (“In mine the Chromium exists mainly as
    Hexavalent chromium and Chromium trioxide. Hexavalent chromium is the most
    toxic compound among all of chromium oxide…”).
                                             30
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    Powder” samples, and in that analysis, chromium (VI) was present at an average of

    75 ppb. 108

             Fifth, and finally, J&J argues that the PSC’s experts do not have evidence to

    suggest that “chromium (VI) is more likely to be found” in the Talcum Powder

    Products than chromium (III). Chromium (VI) is most commonly derived from

    industrial processes but is also produced naturally through the oxidation of

    chromium (III) by manganese minerals, 109 and chromium (VI) is soluble in water. 110

    Chromium is found at concentrated levels in the ultramafic rock of the Earth’s

    crust, 111 the very rock found in Vermont that is altered into serpentinites and talc.

    Heavy metals are frequently contained in chlorite species, which are consistently

    reported as abundantly present in core logs 112 from the Argonaut mine, 113 as well as

    in other internal reports and studies. 114 High levels of heavy metals including


    108
      Exhibit 49, JNJ 000378046, document was reviewed by Plaintiffs’ expert Dr.
    Cook.
    109
       Oze, C., Bird, D.K., Fendorf, S. Genesis of hexavalent chromium from natural
    sources in soil and groundwater. PNAS. April 2007; 104(16):6544-6549, attached
    hereto as Exhibit 50.
    110
          IARC, 2012 (Exhibit 4).
    111
          Oze, 2007.
    112
        ‘Core logs’ refers to the recorded lithology (rock types) and mineralogy of
    sections of cylindrical core drilled from rock or a mineral deposit.
    113
          See, e.g., Exhibit 51, IMERYS 469483 at 484.
    114
       Exhibit 52, IMERYS 441340 at 364 (average chlorite content is 4.01% according
    to a 2008 ore reserve study).
                                               31
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    chromium, cobalt, and nickel were consistently found in the talc ore from Vermont

    talc mines used to source J&J talc between 1972 and 2003.115 More importantly,

    high levels of the same heavy metals were likewise found in the finished Grade 66

    product from the Vermont mines used in the J&J Talcum Powder Products. 116 The

    PSC’s experts Drs. Cook and Krekeler document the existence of heavy metals in

    the finished products in their reports.117

             The chromium levels measured well over 200 ppm in many samples of both

    the talc ore and talcum powder product when J&J’s specification limit for chromium

    in Talcum Powder Products was only 0.5 ppm. 118 Additionally, J&J’s and Imerys

    Talc America, Inc’s internal documents indicate they were aware chromium (VI)

    was present both in the talc mines 119 and in the finished products—this explains



    115
       Exhibit 53, JNJ 000246437 (shows high levels of chromium, cobalt, and nickel
    in a 1990 sample from the Hamm mine in Vermont).
    116
        Exhibit 6, JNJ 000237076 (showing two Grade 66 samples from the
    Hammondsville mine in Vermont in 1991 contained high levels of chromium, cobalt
    and nickel); Exhibit 7, IMERYS 342524 (showing high levels of chromium, cobalt,
    and nickel in a 1997 annual composite sample of Grade 66 talc as measured using
    two different testing methods); see also Ex. C to Zelikoff Report which includes
    additional test results showing high levels of heavy metals in Grade 66 talc from
    Vermont.
    117
        See November 16, 2018 Expert Report of Robert Cook, Ph.D. (“Cook Report”)
    at 28-34, attached hereto as Exhibit 54; Krekeler Report at 31-33.
    118
        See June 28-29, 2018 Deposition of Donald Hicks (“Hicks Dep.”) at 79:1-3,
    attached hereto as Exhibit 55.
    119
          Exhibit 48, JNJ 000131754.
                                                 32
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    J&J’s single test to determine the ratio of chromium valence states. 120 And contrary

    to J&J’s assertions, the 1968 study cited by Dr. Zelikoff supports the presence of

    chromium (VI) in Vermont talc mines. J&J has historically held a market share

    majority for cosmetic Talcum Powder Products, 121 and it began sourcing talc for its

    products from Vermont no later than 1966. 122 Accordingly, the samples tested in the

    1968 study—which included twenty-two off-the-shelf products consisting of body

    powder, bath powder and all-purpose powder—would have contained talc derived

    from Vermont mines. 123

                         5.    J&J has no factual basis for its argument that the form
                               of nickel present in the J&J Talcum Powder Products
                               is not carcinogenic

             J&J seeks to exclude the PSC’s experts’ opinions on the carcinogenicity of

    nickel on the basis that the specific form of nickel determines its bioavailability and

    thus its carcinogenicity. However, J&J fails to cite any support for why the specific


    120
          Exhibit 49, JNJ 000378046.
    121
       Exhibit 56, JNJ 000300223, Johnson & Johnson performed a market share data
    study in 1976 to determine major volume brands. At this point in time J&J Baby
    Powder accounted for 53.6% of the body powder market while J&J Shower-to-
    Shower accounted for 11.1% of the market bringing J&J’s total body powder market
    share to 64.7%.
    122
       See February 25, 2019 Expert Report of Mary Poulton, Ph.D. (“Poulton Report”)
    at 3, attached hereto as Exhibit 57.
    123
       Cralley, L. J., Key, M. M., Groth, D.H., Lainhart, W. S., and Ligo, R. M. 1968.
    Fibrous and mineral content of cosmetic talcum products. American Industrial
    Hygiene Association Journal. 29(4):350-354, attached hereto as Exhibit 58.
                                              33
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    form of nickel found in the Talcum Powder Products would lack carcinogenicity,

    particularly when nickel (including all nickel compounds and metal) is classified by

    IARC as a Group 1 carcinogen in humans. 124

             To support its argument, J&J cites two animal studies where nickel

    compounds did not induce tumors. 125 However, J&J apparently fails to recognize

    that the carcinogenic effects of nickel differ between animals and humans and only

    certain nickel compounds are considered Group I carcinogens in animals. 126 This

    could, in part, be due to differences in systemic processing, as it does not tend to

    bioaccumulate in animals. 127 While it is true that the two animal studies cited by J&J

    did not indicate any effects of nickel compounds in rats, this is to be expected,

    because the compound applied in both was nickel sulfate hexahydrate—nickel

    sulfates have only “limited evidence” of carcinogenicity in animals. 128 As J&J

    argues, “it is important to know the specific form of nickel.” That is certainly the

    case here, yet J&J’s argument rests solely on studies pertaining to a nickel sulfate

    rather than all nickel compounds and nickel metal, which are Group I carcinogens. 129



    124
          IARC, 2012 (Exhibit 3).
    125
          Def. Mem. at 37.
    126
          IARC, 2012 (Exhibit 3) at 210.
    127
          ATSDR, 2005 (Exhibit 22) at 12.
    128
          IARC, 2012 (Exhibit 3) at 211.
    129
          Id. at 210.
                                              34
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             J&J further argues that the PSC’s experts do not take the bioavailability of

    nickel into account in rendering their opinions.130 This is inaccurate. In evaluating

    the health effects of nickel, the PSC’s experts considered, in part, the analyses of

    agencies such as IARC and the NTP. 131 These agencies base their carcinogenicity

    analyses on many types of relevant data. For example, IARC considers the Bradford

    Hill criteria for causality. 132 IARC considers all available data that is relevant to the

    question of carcinogenicity, including epidemiological and experimental studies and

    mechanistic and other relevant data, including the chemical form of the material in

    question. 133 In addition to simply considering nickel’s carcinogenicity, nickel’s

    mechanism of action must be considered. Studies indicate that the immune system

    is one of the primary targets of nickel toxicity. 134 This is especially relevant because

    the Plaintiffs’ general causation case is based in part on the fact that Talcum Powder

    Products cause inflammation and inflammation causes cancer. J&J’s argument that

    nickel’s contribution to carcinogenicity lacks a scientific basis is contrary to the

    evidence and lacks a valid foundation.




    130
          Def. Mem.at 37.
    131
          Nickel compounds are known human carcinogens (NTP, 2016).
    132
          IARC, 2012 Preamble (Exhibit 2) at 21.
    133
          Id. at 13-14.
    134
          ATSDR, 2005 (Exhibit 22) at 12.
                                               35
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          In sum, chromium, nickel, and cobalt are present in the Vermont talc mines

    used to source J&J Talcum Powder Products and in the finished Talcum Powder

    Products themselves. Chromium (VI) and nickel are known human carcinogens.

    Chromium (VI), chromium (III), nickel, and cobalt are all known inflammatory

    agents. As carcinogens and/or inflammatory agents, the heavy metals all contribute

    to the inflammatory properties of the J&J Talcum Powder Products as whole, and

    thereby play a role in the biologically plausible mechanism—inflammation—by

    which the Talcum Powder Products cause ovarian cancer. None of J&J’s arguments

    herein demonstrate otherwise, and J&J’s attempt to exclude the PSC’s experts’

    opinions about the heavy metals should be denied.

                B.    DR. MICHAEL CROWLEY’S OPINIONS REGARDING
                      THE FRAGRANCE CHEMICALS IN THE J&J TALCUM
                      POWDER PRODUCTS ARE WELL-SUPPORTED AND
                      RELIABLE

                      1.     J&J mischaracterizes Dr. Crowley’s experience and
                             the opinions he offers in this litigation

          J&J’s attempts to exclude Dr. Michael Crowley’s opinions as an expert rest

    on mischaracterizations of his experience, methodology, and the very nature of the

    opinions he offers in this litigation. Dr. Crowley is not offering a causation

    opinion—that is, he was not asked to opine as to whether or not the chemicals that

    make up the fragrances used in J&J Talcum Powder Products can or do cause

    ovarian cancer. Rather, he was asked to review the available data that is accepted

                                           36
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    and used by those in the “chemical formulation” business—like himself—to answer

    two questions about the fragrance chemicals used in J&J Talcum Powder Products.

    Put simply, Dr. Crowley wears his “chemist” or “chemical formulator” hat to address

    the following issues: 1) whether the fragrance chemicals are in compliance with

    government and industry standards; and 2) whether the fragrance chemicals can

    contribute to the inflammatory properties, toxicity, and potential carcinogenicity of

    the J&J Talcum Powder Products as a whole.

             Dr. Crowley is, first and foremost, a chemist. He earned his B.S. in chemistry

    from the University of Missouri-St. Louis, his M.A. in organic chemistry from

    Washington University in St. Louis, and his Ph.D. in molecular pharmaceutics from

    the University of Texas. 135 He has served as a consultant to more than 50 companies,

    primarily in the pharmaceutical industry, in the areas of proof of concept,

    formulation and product development, drug delivery and clinical development,

    including generation of FDA regulatory submissions. 136 Previously, he worked for a

    startup pharmaceutical company that developed novel drug products to treat

    infectious disease, as well as a contract research organization that provided

    formulation and drug product development services. 137 He is offered as an expert in


    135
       Crowley Report at 14; see also January 4, 2019 Deposition of Michael Crowley,
    Ph. D. (“Crowley Dep.”) at 341:20-23, attached hereto as Exhibit 59.
    136
          Crowley Report at 14.
    137
          Id. at 14.
                                               37
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    chemistry and chemical formulation and has ample experience studying, reviewing,

    and assessing the safety of all types of chemicals, including several that are in the

    J&J Talcum Powder Products.

             Over the years, Dr. Crowley has developed many pharmaceutical

    formulations, nutritional supplements, and food products, including developing over

    50 formulations that have been tested in human clinical studies. 138 He has authored

    or co-authored over 15 clinical study protocols and over 30 published articles and

    abstracts and four book chapters relating to his work. 139 He is an inventor of five

    United States patents and a number of foreign patents and pending applications. 140

    He has served as a reviewer for many peer-reviewed journals. 141

             Perhaps most relevant to his task in this litigation is Dr. Crowley’s experience

    creating chemical formulas for various pharmaceutical and cosmetic products.

    Examples include: formulating a fragrance for use in a prenatal vitamin; 142

    formulating a cosmetic facial mask; 143 and formulating pharmaceutical products for




    138
          Crowley Report at 14; Crowley Dep. at 342:1-11.
    139
          Crowley Report at 14-15.
    140
          Id. at 15.
    141
          Id. at 15.
    142
          Crowley Dep. at 52:14-23.
    143
          Id. at 52:3-5.
                                                38
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    vaginal use, including Crinone and vaginosis and fungal vaginosis products. 144 As

    part of Dr. Crowley’s work in the field of chemical formulation, he regularly reviews

    the safety profiles of chemicals to determine whether they are safe to use in his

    customers’ products. That is precisely what he did in this litigation.

                            2.   Dr. Crowley employed the same thorough, systematic
                                 methodology to review the fragrance chemicals in the
                                 J&J Talcum Powder Products that he regularly uses in
                                 his own work with consumer products

             J&J tries to discredit Dr. Crowley’s methodology as merely “plugging the

    names of the chemicals into Google or PubChem to see what he could find.” 145

    However, Dr. Crowley described his actual methodology in detail at his deposition

    and it is the same process that he regularly uses as a chemist and chemical formulator

    for consumer products—in sum, he reviewed the totality of available safety data for

    each fragrance chemical used in J&J Talcum Powder Products: “I tried to examine

    the totality of the evidence for each and every chemical and collate that…in a

    meaningful way to examine their properties and to answer the questions that were

    posed to me. 146

             First, Dr. Crowley took the list of fragrance chemicals used in J&J Baby

    Powder and Shower-to-Shower and tried to identify a CAS (Chemical Abstracts


    144
          Id. at 205:1-9.
    145
          Def. Mem. at 9. (internal quotations omitted).
    146
          Crowley Dep. at 111:7-15.
                                               39
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    Service) number for each so he could cross-reference it with various databases and

    gather physical and chemical properties, as well as safety profiles, in vitro and/or in

    vivo studies, and any published or known pharmacological properties about the

    chemicals. 147 He reviewed the IFRA (International Fragrance Association), CIR

    (Cosmetic Ingredient Review), and FDA (Food and Drug Administration) websites,

    particularly the FDA’s Inactive Ingredient Database. 148 He reviewed journals,

    including Food and Chemical Toxicology, to see what studies were available, as well

    as the EFSA (European Food Safety Authority) website, and the RTECS (Registry

    of Toxic Effects of Chemical Substances) website, all with the goal of gathering as

    much pertinent information about the chemicals as possible. 149 He classified the

    chemicals according to whether they are established irritants, sensitizers, or

    allergens. 150 He then compiled all of his relevant findings into detailed tables and

    appendices in his report.

             Dr. Crowley explained that this is exactly what “a standard formulator “like

    himself does to determine whether chemicals are safe to use in consumer products. 151

    As he put it:


    147
          Id. at 109:13-19.
    148
          Id. at 109:20-23.
    149
          Id. at 110:1-22.
    150
          Id. at 110:8-13.
    151
          Id. at 112:23-113:4.
                                              40
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             Let’s be clear about this. When companies engage me to help them build
             products, they don’t want me to take any unnecessary risks… So, ideally, you
             use excipients and active ingredients that are listed by the FDA, have a CIR
             monograph or safety study, you know, are listed in the Food Chemical Codex,
             have a full – published in a peer-reviewed journal safety study. So more often
             than not, the generally-accepted standard is to go use chemicals that meet all
             those criteria…there’s risk associated with using things that don’t. 152

             Accordingly, Dr. Crowley looked to the available regulatory information,

    studies, and technical literature on these issues and opined as to whether someone in

    the chemical formulation industry like himself would have concerns about using

    those chemicals in consumer products, either because of regulatory issues or because

    of their potential to contribute inflammatory, toxic, and/or potentially carcinogenic

    properties to the products. 153

                          3.      Dr. Crowley has ample “good grounds” to support his
                                  opinions about the fragrance chemicals in J&J
                                  Talcum Powder Products and there is nothing
                                  “haphazard” about his methodology


    152
          Id. at 186:22-187:12.
    153
        To the extent J&J criticizes Dr. Crowley for not performing his own “risk
    analysis” of each chemical, he explained that he did not need to do so because that
    work has “already been done and published in the literature.” Crowley Dep. at
    132:20-133:2. Daubert requires the proponent of the scientific evidence to show
    that the expert’s conclusion has been arrived at “in a scientifically sound and
    methodologically reliable fashion,” not that the expert’s opinion or methodology is
    beyond reproach. Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d
    77, 85 (1st Cir. 1998); In re TMI Litigation, 193 F.3d 613, 665 (3rd Cir. 1999)
    (explaining that plaintiffs “do not have to demonstrate to the judge by a
    preponderance of the evidence that the assessments of their experts are correct, they
    only have to demonstrate by a preponderance of evidence that their opinions are
    reliable” (citation omitted)).
                                               41
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             J&J argues that Dr. Crowley’s review of the chemicals was “haphazard” and

    that his opinions “lack good grounds.” However, a closer analysis reveals that J&J

    itself has a “haphazard” understanding of the chemicals used in its own products and

    the way those chemicals are classified by regulatory bodies.

                   •     Styrene (Benzene, ethenyl-): At Dr. Crowley’s
                         deposition, counsel for J&J incorrectly stated that
                         styrene has an IARC Group 2B classification,
                         meaning that it is “possibly” carcinogenic to
                         humans.” 154 Remarkably, J&J yet again incorrectly
                         categorizes styrene in its brief, this time claiming
                         that it has an IARC Group 3 classification. 155 Dr.
                         Crowley corrected J&J’s first misclassification error
                         at his deposition—styrene is classified by IARC in
                         the 2A group, meaning that it is “probably
                         carcinogenic to humans.” 156 As Dr. Crowley
                         explained:

                         “IARC 2A is probably carcinogenic to humans. It
                         means limited evidence of carcinogenicity in
                         humans and sufficient evidence of carcinogenicity in
                         animal studies or inadequate evidence of
                         carcinogenicity in humans and sufficient evidence of
                         carcinogenicity in animals, and strong evidence that
                         the carcinogen is meted by a mechanism that does
                         operate in humans.” 157

                         Dr. Crowley also testified that the National
                         Toxicology Program has determined that styrene is


    154
          Crowley Dep. at 244:13-14.
    155
          Def. Mem.at 40.
    156
          Exhibit 11, IARC 2A classification for styrene.
    157
          Crowley Dep. at 358:5-18.
                                              42
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                          reasonably anticipated to be a human carcinogen. 158
                          Dr. Crowley provides numerous sources for his
                          conclusions regarding styrene in his report,
                          including, but not limited to: styrene has been
                          implicated as a reproductive toxicant, neurotoxicant,
                          or carcinogen in vivo or in vitro; the FDA has
                          banned styrene’s use as a synthetic flavoring
                          substance; styrene has been observed to cross the
                          placenta in studies; styrene’s metabolite styrene 7,8-
                          oxide is genotoxic; and styrene has been linked to
                          cytogenic, DNA damage, DNA inhibition, sister
                          chromatid exchange, and unscheduled DNA
                          synthesis in multiple in vitro models. 159

                          Indeed, the information provided by J&J regarding
                          compositional changes to its Talcum Powder
                          Products indicates that J&J decided to remove
                          styrene from the products around 2014. 160
                          Accordingly, there is more than ample basis for Dr.
                          Crowley to reach his conclusion that the use of
                          styrene in consumer cosmetic products like J&J
                          Baby Powder and Shower-to-Shower poses both
                          regulatory concerns and can contribute to the
                          inflammatory properties, toxicity, and/or potential
                          carcinogenicity of the Talcum Powder Products as a
                          whole.

                    •     Coumarin, Eugenol, and D-limonene: While J&J
                          is correct that coumarin, eugenol, and D-limonene
                          (unlike styrene) have IARC Group 3 classifications,
                          J&J presents an incomplete definition of what that

    158
          Id. at 359:13-18.
    159
       Crowley Report at 22-23 (emphasis supplied); see also Crowley Dep. at 255:7-
    13 (“Styrene 7,8-oxide has been implicated and found to be carcinogenic and
    genotoxic in virtually every study that has ever been done with it. Metabolism of
    styrene to those metabolites have also been demonstrated both in humans and in
    animals to be carcinogenic.”).
    160
          Crowley Dep. at 142:10-14; Crowley Report at 13, fn. 1.
                                               43
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                         classification means, and ignores the other data Dr.
                         Crowley relies on to reach his conclusions about the
                         chemicals’ ability to contribute to the inflammatory,
                         toxic, and/or carcinogenic properties of the Talcum
                         Powder Products.

                         It is incomplete to describe IARC Group 3 chemicals
                         as “not classifiable” as to carcinogenicity because
                         there is “inadequate evidence that the substance
                         causes cancer in humans.” 161 J&J offered the same
                         half-explanation at Dr. Crowley’s deposition, and he
                         supplied the remaining pertinent information at that
                         time. In Dr. Crowley’s own words: “No. That’s only
                         half of it. The other part of that is evidence of
                         carcinogenicity is inadequate in humans but
                         sufficient in experimental animals, but strong
                         evidence that the mechanism of carcinogenicity in
                         experimental animals may not operate in humans, or
                         agents that don’t fall into any other group.” 162 In
                         other words—there is evidence of carcinogenicity in
                         animal studies, but it is not yet fully established
                         whether the carcinogenic mechanism operates
                         similarly in humans.

                         Accordingly, Dr. Crowley is not mistaken in saying
                         that coumarin, eugenol, and d-limonene are
                         “potential carcinogens” because there is “sufficient”
                         evidence of those chemicals’ carcinogenicity in
                         animals, while human carcinogenicity is simply not
                         yet established. Coumarin has been banned in foods
                         since 1954, it is not listed by the CIR, a 2018 study
                         links it to the development of liver tumors in rats and
                         mice and Clara cell toxicity and lung tumors in mice,
                         it causes fetotoxicity in rats, and it results in sister
                         chromatid exchange in hamster ovary cells. 163

    161
          Def. Mem. at 40-41.
    162
          Crowley Dep. at 239:1-8 (emphasis supplied).
    163
          Crowley Report at 23-24.
                                               44
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                           Eugenol has been shown to cause sister chromatid
                           exchange and chromosome aberration in hamster
                           ovary cells. 164 Likewise, D-limonene causes
                           reproductive effects in mice and rats following oral
                           administration and cytotoxicity in hamster ovary
                           cells. 165 All of this information taken together is
                           sufficient to support Dr. Crowley’s opinion that
                           coumarin, eugenol, and d-limonene can contribute to
                           the inflammatory properties, toxicity, and/or
                           carcinogenicity of J&J Baby Powder and Shower-to-
                           Shower.

                       •   Benzophenone: J&J challenges Dr. Crowley’s
                           conclusions about benzophenone, which was
                           recently removed from use in foods by the FDA,
                           because the 2006 NTP study (National Toxicology
                           Program) he cited “did not conclude that
                           benzophenone can cause ovarian cancer.” 166
                           Benzophenone is an IARC Group 2B chemical,
                           meaning it is possibly carcinogenic to humans. 167 It
                           is no longer listed in the CFR for food use and it has
                           no IFRA standard. 168 It is associated with an
                           increased risk of “hepatoblastoma in male mice,
                           histiocytic sarcoma in female mice, increased
                           incidence of mononuclear cell leukemia in male and
                           female rats[,] [r]enal tube adenoma in male rats,
                           histiocytic sarcoma in female rats, and tumors in the
                           kidney.” 169 And importantly, the 2006 NTP study
                           that J&J references does link benzophenone to
                           ovarian abnormalities. Dr. Crowley read from the
                           NTP report in pertinent part at his deposition:
    164
          Id. at 24.
    165
          Id. at 21.
    166
          Def. Mem. at 41.
    167
          Crowley Dep. at 276:17-21.
    168
          Crowley Report at 47.
    169
          Crowley Dep. at 277:10-16.
                                                45
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                            So this is from the NTP report, and I’m going to read
                            it. Histiocytic sarcoma in females. There was a
                            positive trend in the incidence of histiocytic
                            sarcomas, all organs…In the current two-year study,
                            only females were affected, and the liver and lung
                            were involved in all affected females. The histiocytic
                            sarcomas were highly invasive in all three 1,250
                            PPM mice. Multiple organs throughout the body had
                            neoplastic histiocytic legions; ovaries, uterus,
                            spleen, adrenal gland, kidney, urinary bladder, and
                            multiple lymph nodes were affected in all three
                            animals.” 170

                            As Dr. Crowley stated, “frankly, [the] NTP is
                            extraordinarily thorough.” 171 The NTP study showed
                            that male rats receiving benzophenone had severe
                            kidney nephropathy, kidney tumors, and
                            leukemia. 172 Female rats had higher rates of
                            leukemia, liver tumors, increased severities of
                            kidney nephrology, metaplasia, epithelia of the nose
                            and hyperplasia of the spleen. 173 The NTP program
                            also concluded that benzophenone caused cancer –
                            kidney cancer in male rats, liver tumors in male
                            mice, and histiocytic sarcomas in female mice.” 174
                            Additionally, “in vivo estrogenic activity of
                            benzophenone was confirmed in the uterotrophic
                            assay” by IARC in 2013. 175 This abundance of data
                            more than supports Dr. Crowley’s opinions
                            regarding benzophenone and its ability to contribute


    170
          Id. at 279:12-280:13 (emphasis supplied).
    171
          Id. at 277:23-24.
    172
          Id. at 278:1-4.
    173
          Id. at 278:4-8.
    174
          Id. at 277:21-278:16.
    175
          Crowley Report at 48.
                                                 46
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                           to the inflammatory properties, toxicity, and/or
                           carcinogenicity of J&J Talcum Powder Products.

                       •   P-cresol: J&J’s challenge to Dr. Crowley’s opinions
                           regarding p-cresol rests on a single review from the
                           Agency for Toxic Substances and Disease Registry,
                           which concluded that there is inadequate
                           information to assess p-cresol’s carcinogenic
                           potential. 176 However, the EPA has categorized p-
                           cresol as “possibly carcinogenic” from 1990 to the
                           present day. 177 Studies show that p-cresol is
                           cytogenetic in hamster ovary cells and causes DNA
                           damage in human lymphocytes. 178 In 2006, the CIR
                           (Cosmetic Ingredient Review Expert Panel) found
                           that “in the p-cresol assay…there were significant
                           increases in chromosomal aberrations at all
                           concentrations tested,” and “p-cresol was considered
                           positive for inducing chromosomal aberrations in
                           CHO cells under both activation and nonactivation
                           conditions.” 179 Further, the CIR does not permit p-
                           cresol for use in cosmetics that are applied to
                           mucous membranes. 180 Older studies demonstrated
                           that women exposed in the workplace to varnishes
                           containing      mixed      cresols  had    increased
                           gynecological problems such as menstrual disorders
                           and hormonal disturbances, and an increased
                           frequency of perinatal mortality and abnormal

    176
          Def. Mem. at 42.
    177
          See https://www.epa.gov/sites/production/files/2016-09/documents/cresol-
    cresylic-acid.pdf (last accessed May 22, 2019); p. 1, Hazard Summary: “Several
    animal studies suggest that o-cresol, m-cresol, and p-cresol may act as tumor
    promotors. EPA has classified o-cresol, m-cresol, and p-cresol as Group C, possible
    human carcinogens.”
    178
          Crowley Report at 25, citing RTECS.
    179
          Id. at 25.
    180
       Id. at 25, citing Cosmetic Ingredient Review Expert Panel, 2006 (emphasis
    supplied).
                                                47
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                           development of newborn infants. 181 Here again,
                           there is sufficient data to support Dr. Crowley’s
                           opinion regarding p-cresol’s contribution to the
                           inflammatory      properties,   toxicity,  and/or
                           carcinogenicity of J&J Talcum Powder Products,
                           and a single review from the Agency for Toxic
                           Substances and Disease Registry does not discredit
                           all other evidence.

                       •   Musk ketone: J&J discusses musk ketone in its
                           brief, but doesn’t explain what, if anything, was
                           inaccurate or “haphazard” about Dr. Crowley’s
                           review of the chemical. J&J is correct—musk ketone
                           is classified as a Category 3 carcinogen by SCHER
                           (Scientific Committee on Health and Environmental
                           Risks), and is suspected of being a carcinogen. 182 It
                           is also identified as “a strong inducer of phase I
                           enzymes in rodents and co-genotoxicant in vitro in
                           human derived cells in rather low doses, suggesting
                           that exposure to musk ketone might increase the
                           susceptibility to health hazards caused by
                           carcinogens in humans.” 183

                       •   Myroxylon Pereirae (Balsam peru) Oil: J&J
                           dramatizes a simple misunderstanding regarding the
                           distinction between balsam peru crude and balsam
                           peru       extract/distillate—a   misunderstanding
                           prompted by J&J’s use of the phrase “balsam peru
                           oil” in its documents. Dr. Crowley easily explained
                           the issue at his deposition—both balsam peru crude
                           and balsam peru extract/distillate have the same
                           CAS (Chemical Abstracts Service) number. 184 Dr.
                           Crowley used CAS numbers as part of his process of

    181
          Id. at 26, citing Syrowadko & Malysheva, 1977.
    182
          Id. at 51.
    183
          Id. at 51, citing Schmeiser, Gminski, & Mersch-Sundermann, 2001.
    184
          Crowley Dep. at 171:23-172:3.
                                                48
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                          identifying and researching the chemicals. However,
                          Dr. Crowley had no way of knowing with absolute
                          certainty whether J&J’s use of the phrase “balsam
                          peru oil” refers to the crude or extract/distillate
                          version: Q. “And what you know is that Peru
                          balsam crude is not the ingredient that is in the Baby
                          Powder or Shower-to-Shower powder. Correct? A. I
                          don’t know that.” 185 Dr. Crowley ultimately testified
                          that he takes J&J at its word that the “restricted”
                          balsam peru extract/distillate is used in J&J Baby
                          Powder rather than the “prohibited” balsam peru
                          crude. 186 However, this issue does not affect or
                          change Dr. Crowley’s overall opinions about the
                          fragrance chemicals used in the J&J Talcum Powder
                          Products. 187

             There is an abundance of information and data supporting Dr. Crowley’s

    opinions about the fragrance chemicals used in J&J Talcum Powder Products. The

    evidence is laid out in detail in his report—particularly in Appendices A and B—

    and was explained in even greater detail at his deposition. J&J’s strained attempt to

    characterize Dr. Crowley’s review as “haphazard” rests solely on J&J’s own

    misunderstanding of certain chemical classifications (i.e. styrene), disregard for data


    185
          Id. at 170:18-23.
    186
          Id. at 172:5-173:3.
    187
       Further, any mistakes in Dr. Crowley’s report should be addressed in cross
    examination, not result in the wholesale exclusion of his opinions. “Indeed, federal
    courts have generally found that ‘the perceived flaws’ in an expert’s testimony
    often should be treated as ‘matters properly to be tested in the crucible of the
    adversarial system, ‘not as ‘the basis for truncating that process.’” Violas v. GMC,
    73 F.Supp 2d 452, 462 (D.N.J. 1999). (quoting Walker v. Yellow Freigh Sys.,Inc.
    Civ. A. No. 98-3565, 1999 WL 757022, at *8 (E.D. La. Sep. 24, 1999)).

                                               49
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    that doesn’t support J&J’s position, and nit-picking at minor discrepancies. J&J has

    not established that Dr. Crowley “lacks good grounds” for his opinions, and they

    should not be excluded on that basis. 188

                                4.    There is ample scientific evidence linking the
                                      fragrance chemicals used in J&J Talcum
                                      Powder Products to cancer, including ovarian
                                      cancer

             J&J attempts to diminish Dr. Crowley’s substantial and compelling evidence

    that the fragrance chemicals are problematic from a regulatory standpoint and can

    contribute to the inflammatory, toxic, and carcinogenic properties of the Talcum

    Powder Products, by emphasizing that there are no human studies examining the

    chemicals’ impact on human ovaries. 189 But of course, it is not ethically possible to

    test for the carcinogenicity and toxicity of chemicals on human ovaries—studies can

    only be performed on animals. Dr. Crowley explained this repeatedly at his

    deposition:

                • “And you don’t do those kind of studies against humans.
                  They’re unethical. Right? So the safety of d-limonene has
                  not been established in human vaginas.” 190

                • “Just so we’re clear, it’s unethical to infuse human ovaries
                  with para-cresol or any of these. That’s just not done.” 191



    189
          Def. Mem. at 44.
    190
          Crowley Dep. at 222:4-7.
    191
          Id. at 282:9-12.
                                                50
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                • “I don’t think that any regulatory authority in the world
                  would allow me to administer para-cresol to a human
                  ovary. It wouldn’t happen.” 192
                • Regarding p-cresol studies in humans: “So to make that
                  assertation in humans is not ethically possible. Those
                  studies are done in animals.” 193

                • Regarding p-cresol studies: “All three of those studies are
                  done with cell lines. They are in vitro, because we don’t
                  ethically endanger humans…” 194

                • Regarding styrene studies in humans: “Yeah, so as we’ve
                  talked about, those studies are unethical, and that’s why
                  there aren’t any.” 195

             These ethical considerations require us to rely in large part on animal studies

    for assessing the possible toxicity and/or carcinogenicity of chemicals—and the

    animal studies linking the specific fragrance chemicals in J&J Talcum Powder

    Products to cancer (including the ovaries) are numerous. Dr. Crowley identifies the

    studies in his report, and he also listed the fragrance chemicals in Baby Powder that

    have specifically been linked to ovarian abnormalities in animal studies at his

    deposition:




    192
          Id. at 283:17-20.
    193
          Id. at 283:23-284:1.
    194
          Id. at 285:21-23.
    195
          Id. at 364:13-15.
                                               51
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                    •       “So benzaldehyde, sister chromatid exchange,
                            which is a mutation, in Chinese hamster ovary cells.
                            That was published by Galloway in ‘87.” 196

                    •       “Ethyl methylphenylglycidate sister chromatid
                            exchange and chromosomal aberrations in Chinese
                            hamster ovary cells, Galloway, 1987. European
                            Food Safety Authority, same substance. There’s
                            substantial evidence of a genotoxic potential from
                            the available in vitro and in vivo studies.” 197

                    •       “Eugenol, sister chromatid exchange and
                            chromosomal aberrations in Chinese hamster ovary
                            cells, Galloway, 1987.” 198

                    •       “Styrax oil, sister chromatid exchange in Chinese
                            hamster ovary cells, Gulati, Witt, Anderson, Zeiger
                            & Shelby, 1989.” 199

                    •       “para-Cresol, cytogenetic in Chinese hamster ovary
                            cells, DNA damage in human lymphocytes,
                            morphologic transformations in mice, RTECS, the
                            Cosmetic Ingredient Review Panel, 2006.” 200

                    •       “para-Cymene, cytotoxic against Chinese hamster
                            ovary cells.” 201

                    •       “Propanedioic acid, diethyl ester, tumorigenic in
                            mice following oral dosing, RTECS.” 202


    196
          Id. at 115:14-17 (emphasis supplied); see also Crowley Report at 22.
    197
          Crowley Dep. at 118:3-10 (emphasis supplied).
    198
          Id. at 118:11-13 (emphasis supplied).
    199
          Id. at 118:14-17 (emphasis supplied).
    200
          Id. at 118:18-22 (emphasis supplied).
    201
          Id. at 119:3-4 (emphasis supplied).
    202
          Id. at 119:6-8.
                                                  52
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             And while it is not ethically possible to expose human beings and/or human

    ovaries to potentially toxic and/or carcinogenic chemicals, studies do exist

    demonstrating a link between some of the fragrance chemicals in the J&J Talcum

    Powder Products and toxicity and/or carcinogenicity in humans. For example,

    counsel for J&J asked Dr. Crowley at his deposition if he was aware of any such

    study in humans with respect to p-cresol or para-cresol. Dr. Crowley cited a 2006

    study from The International Journal of Toxicology: “The safety of Cresols was

    reviewed by the World Health Organization in 1995. The WHO report concluded

    there is clear evidence in humans that during dermal or oral exposure, high

    concentrations of Cresols are corrosive, absorb rapidly, and produce severe toxicity

    that may result in death.” 203 Other examples of studies looking at human exposure

    include:

                • Lavandula Angustifolia (Lavender) Oil: This study has
                  demonstrated that lavender oil is cytotoxic to human skin
                  cells in vitro (endothelial cells and fibroblasts) at a
                  concentration of 0.25% (v/v) in all cell types tested
                  (HMEC-1, HNDF and 153BR) (Prashar, Locke, & Evans,
                  2004). 204

                • P-cresol: “Cytogenetic in Chinese Hamster Ovary cells,
                  DNA Damage in human lymphocytes, and morphologic
                  transformation in mouse fibroblast (RTECS).” 205


    203
          Id. at 284:13-23; Exhibit 60 (2006 p-cresol study).
    204
          Crowley Report at 24 (emphasis supplied).
    205
          Id. at 25 (emphasis supplied).
                                               53
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                 • P-cresol: “Women exposed in their workplace (enamel-
                   insulated wire manufacturing) to varnishes that contained
                   Mixed Cresols (amount not stated) had increased
                   gynecological problems such as menstrual disorders and
                   hormonal disturbances. An increased frequency of
                   perinatal mortality and abnormal development of
                   newborn infants was also reported Syrowadko and
                   Malysheva (1977) (Syrowadko & Malysheva, 1977).” 206

    Dr. Crowley states in his report that while animal studies are not completely

    definitive as to whether the same effects will be observed in humans, they are

    indicators of biological activity. 207 He testified that IARC considers both human

    (when available) and animal studies when classifying chemicals. 208But, the

    “absence of human studies” does not mean “that somehow these [chemicals] are

    safe. That’s not the conclusion that a person of skill in the art would conclude.” 209

    In other words, someone in the business of assessing chemicals for use in consumer

    products like Dr. Crowley would not determine that a chemical is safe for human

    use simply because no human studies exist saying otherwise—and particularly not

    when numerous animal studies exist demonstrating that the chemical has toxic

    and/or carcinogenic properties and when those studies are “indicators of biological

    activity.” Dr. Crowley explained that the established biological activity or biological


    206
          Id. at 26 (emphasis supplied).
    207
          Id. at 48.
    208
          Crowley Dep. at 261:14-17.
    209
          Id. at 274:2-8.
                                              54
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    mechanism for both the initiation and progression of cancer here is inflammation. “I

    have found studies that link inflammation to cancer. That’s an established link.

    That’s indisputable. The Canadians stated as much in their assessment on perineal

    application of talc, and these fragrance chemicals are part of that product.” 210

             The abundance of evidence provided by animal studies support Dr. Crowley’s

    conclusion that the fragrance chemicals raise regulatory concerns and can contribute

    to the inflammatory properties, toxicity, and/or potential carcinogenicity of J&J’s

    Talcum Powder Products as a whole.

                                5.    It was not necessary for Dr. Crowley to consider
                                      dose response to form his opinions about the
                                      fragrance chemicals in J&J Talcum Powder
                                      Products

             J&J argues Dr. Crowley’s opinions are flawed because he did not conduct a

    “dose-response assessment.” 211 This argument fails for several reasons. First, Dr.

    Crowley testified that even assuming arguendo it was necessary to do a dose-

    response assessment, he couldn’t because J&J did not supply the necessary

    information for such an analysis. 212 J&J now suggests that it would have been

    appropriate for Dr. Crowley to “roughly estimate” the amount of each individual




    210
          Id. at 308:2-7.
    211
          Def. Mem. at 51.
    212
          See, e.g., Crowley Dep. at 201:3-5; 302:14- 18; 309:18-20.
                                              55
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    chemical in Baby Powder and Shower-to-Shower and use “relative portions” to

    perform dose assessments.

             J&J provided limited, incomplete information about the fragrance chemicals

    in its products. For example, J&J’s fragrance composition documents do not specify

    the precise amount of each individual chemical in the products, but only “relative

    portions.” J&J also does not explain whether the “relative portions” of each chemical

    remained uniform over the many decades that the products have been on the market.

    It is absurd for J&J to suggest that Dr. Crowley was required to conduct a dose

    assessment after failing to provide him with all of the information he would need to

    do so in a scientifically sound and accurate manner. Dr. Crowley explained why it

    is not appropriate to hazard a guess about dosage and exposure, particularly when

    J&J did not provide him with the information necessary to undertake such an

    analysis:

                   So, for example, cinnamal has a Category 5 restriction of
                   0.05 percent. Since I don’t know how much is present, I
                   can’t make a judgment as to whether the cinnamal present
                   in Baby Powder exceeds 0.05 percent or not. There’s a
                   bunch of other fragrance chemicals here too that have these
                   restrictions similar to Shower-to-Shower. Let’s save each
                   other some time. I can’t make that judgment because your
                   client hasn’t given me the information to be able to do
                   that.” 213




    213
          Id. at 330:15-331:2.
                                              56
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          Regardless, Dr. Crowley did not need to conduct a dose-response assessment

    on the fragrance chemicals for the same reasons discussed above regarding heavy

    metals. Dr. Crowley is not offering a causation opinion regarding whether exposure

    to the individual chemicals causes ovarian cancer. He is opining as to whether those

    chemicals—based on all available data and studies—can contribute to the

    inflammatory properties, toxicity, and/or carcinogenicity of the J&J Talcum Powder

    Products as a whole. Again, the proper methodology for mixtures is a non-threshold

    model with consideration given to the additive effects of the components. A

    qualitative analysis is appropriate for mixtures, particularly where there is

    inadequate quantitative data available (or provided by J&J) and exposures cannot be

    characterized with confidence. And like the heavy metals discussed above, the many

    studies and data compiled by Dr. Crowley about the fragrance chemicals in the J&J

    Talcum    Powder    Products    establish    a   biologically   plausible   mode   of

    action/mechanism for the promotion of carcinogenesis:

                I mean, I’ve stated fairly clearly, I feel, that…you’ve got
                a whole bunch of irritants, you’ve got a whole bunch of
                sensitizers, and you’ve got a whole bunch of allergens that
                have been glued to talc particles, administered to the
                peritoneal area, which subsequently enters the vagina, and
                where that talc particle goes, those fragrance chemicals go
                with it. They have demonstrated—many of them—
                demonstrated biological activity in animal and in vitro cell
                models that demonstrates toxicity and carcinogenicity.
                And so…I don’t know how else to state it. I think they can



                                            57
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                    absolutely contribute to the carcinogenicity of the product
                    in total.214

    Dr. Crowley repeatedly explained that inflammation is a well-established biologic

    mechanism for both the initiation and progression of cancer, including ovarian

    cancer:

                    •   “But also…those inflammatory chemicals travel
                        throughout the human body. So increased levels of
                        inflammation have been associated with a higher risk
                        of cancers.” 215

                    • “I have found studies that link inflammation to cancer.
                      That’s an established link. That’s indisputable. The
                      Canadians stated as much in their assessment on
                      perineal application of talc, and these fragrance
                      chemicals are part of that product.” 216

                    • “I can also point you to the Canadian assessment on the
                      safety of talc where they also stated that chronic
                      inflammation and oxidative stress are important factors
                      in the development and behavior of cancer, including
                      ovarian cancer.” 217

             Dr. Crowley further explained that performing a dose assessment of the

    individual fragrance chemicals in a mixture would be problematic because it

    wouldn’t take into consideration additive effects—that is, chemicals in combination




    214
          Id. at 327:20-328:13 (emphasis supplied).
    215
          Id. at 82:18-22.
    216
          Id. at 308:2-7.
    217
          Id. at 310:5-11 (emphasis supplied).
                                                 58
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    with one another can and do behave differently than they behave individually:

    “Another consideration is…the safety studies are usually single ingredient safety

    studies…if we were to do a safety study of para-Cresol in an animal, it would be

    simply that. It wouldn’t be para-Cresol and another 142 other chemicals. Right? So

    very likely there’s additive effects..” 218 Dr. Plunkett similarly explained: “when you

    have a complex mixture that has added to it things like asbestos and heavy metals,

    because I talk about the additivity issue that can come to play…in other words, [there

    is an] increased risk when you have a complex mixture with additional components

    that all share the same toxic properties as far as target organs or types of effects or

    mechanisms that are triggered in the body.” 219

             For example, at least one of the fragrance chemicals in the J&J Talcum

    Powder Products—p-cresol—is “co-carcinogenic,” which means it has been found

    to “promote tumors in animals when co-administered with a known carcinogen.” 220

    This is an extremely important point when it comes to assessing mixtures—even a

    chemical that may not itself be classified as a known carcinogen can increase a

    carcinogen’s activity when they are administered together. 221 Assessing dose




    218
          Id. at 355:19-356:2.
    219
          Plunkett Dep. at 146:11-21 (emphasis supplied).
    220
          Crowley Dep. at 212:9-13; Crowley Report at 21.
    221
          Id. at 361:9-13.
                                              59
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    response for each individual component of mixtures like fragrances (or the J&J

    Talcum Powder Products themselves) would not provide a complete or accurate

    account of the mixture’s total inflammatory, toxic, and/or carcinogenic effects.

             Finally, Dr. Crowley explained that dose response is immaterial with respect

    to genotoxic materials—“genotoxic materials do not live under a dose response

    relationship. If it’s been classified as genotoxic, one molecule is enough to cause an

    increase in risk associated with that particular compound.” 222 Dr. Crowley identified

    several genotoxic and potentially genotoxic fragrance chemicals in his report,

    including:       linalyl     acetate; 223   citral; 224   diethyl   phthalate; 225   Ethyl

    Methylphenylglycidate; 226 and benzaldehyde. 227 Additionally, at least one of the

    fragrance chemicals—styrene—has a known genotoxic metabolite: “Styrene-7,8-

    oxide has been implicated and found to be carcinogenic and genotoxic in virtually



    222
          Id. at 131:22-132:3.
    223
        Crowley Report at 25 (“The genotoxicity of linalyl acetate described here in
    mammalian cells strengthens the data obtained in the bacterial ones and highlights
    the need of in vivo studies.”).
    224
      Id. at 23 (“Valid genotoxicity (induction of sister chromatid exchange) result in
    Chinese hamster ovary cells…).
    225
       Id. at 48 (“Diethyl Phthalate, a non-fragrance present as a component in the
    fragrance mixture, is a phthalate ester which are reported to be endocrine disruptors,
    cause reproductive and developmental toxicities, and potentially genotoxic.”).
    226
       Id. at 24 (“There is substantial evidence of a genotoxic potential from the
    available in vitro and in vivo studies.”).
    227
          Id. at 22 (“May have a significant genotoxic effect”).
                                                  60
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    every study that has ever been done with it. Metabolism of styrene to those

    metabolites have also been demonstrated both in humans and in animals to be

    carcinogenic.” 228 A threshold approach based on dose response is not appropriate

    for genotoxic materials because “They don’t have a threshold. One molecule is

    enough to cause an increased risk.” 229

             For all of the foregoing reasons, Dr. Crowley’s opinions should not be

    excluded simply because he did not perform a dose response assessment.

                          6.     The opinions of the PSC’s other experts who cite Dr.
                                 Crowley’s opinions should be not excluded

             For all of the reasons set forth above, Dr. Crowley’s opinions are reliable and

    have more than sufficient “good grounds” because his methodology was appropriate.

    Moreover, his opinions are supported by ample scientific data, regulatory

    information, and Dr. Crowley’s own extensive experience as a chemist and chemical

    formulator. Accordingly, there is no basis for excluding any other of the PSC’s

    experts’ opinions that relate to or rely on Dr. Crowley’s opinions.




    228
          Crowley Dep. at 255:7-13.
    229
          Id. at 125:20-126:1.
                                               61
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                   C.    THE PSC’s EXPERTS’ OPINIONS REGARDING
                         FIBROUS TALC DO NOT REST ON AN “ERRONEOUS”
                         DEFINITION

             J&J argues that the PSC’s experts incorrectly interpret the definition of

    “fibrous talc,” and use a definition that differs from the IARC definition. 230 This is

    misleading at best—IARC has classified fibrous talc as a Group I carcinogen. In fact,

    IARC devoted multiple Monograph reviews to fibrous (asbestiform) talc in order to

    clarify any confusion regarding the definition.

             Amphiboles may undergo incomplete alteration to form transition fibers,

    composed of both fibrous talc and amphibole, or they may be replaced with fibrous

    talc and serpentine. 231 In 1987, IARC evaluated the carcinogenicity of talc and

    concluded that there was sufficient evidence that talc containing asbestiform fibers

    was carcinogenic to humans. 232 To clarify the terminology, in 2010 IARC stated that

    “[t]he term ‘asbestiform fibre’ has been mistaken as a synonym for ‘asbestos fibre’

    when it should be understood to mean any mineral, including talc, when it grows in




    230
          Def. Mem. at 57.
    231
       Van Gosen, B.S., Lowers, H.A., Sutley, S.J., et al. “Using the geologic setting of
    talc deposits as an indicator of amphibole asbestos content,” Env Geol (2004)
    45:920. https://doi.org/10.1007/s00254-003-0955-2. Exhibit 65
    232
       IARC Monograph on Silica and Some Silicates (1987), relevant excerpts attached
    hereto as Exhibit 61; IARC Overall Evaluaitons of Carcinogenicity: An Updating
    of IARC Monographs Volumes 1 to 42, Supplement (1987), relevant excerpts
    attached hereto as Exhibit 62.
                                              62
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    an asbestiform habit.” 233 At the same time, IARC also re-addressed the issue of

    carcinogenicity: “The present Working Group also decided to expand the name of

    the Group-1 agent from ‘talc containing asbestiform fibres’ to ‘talc containing

    asbestos or other asbestiform fibres.’” 234 This allowed for the inclusion of “other

    asbestiform fibers”—like talc in asbestiform habit.

             IARC, 2012 states that “the conclusions reached…about asbestos and its

    carcinogenic risks apply to these six types of fibres [chrysotile, actinolite, amosite,

    anthophyllite, crocidolite, and tremolite] wherever they are found, and that includes

    talc containing asbestiform fibres.” 235 IARC, 2012 further differentiates the types

    of talc, stating that “[t]alc may also form true mineral fibres that are asbestiform in

    habit.” 236

             Throughout the evolution of the definition of fibrous talc, two IARC

    definitions are the most important: 1) the term “asbestiform fiber,” which is defined

    by IARC as any mineral, including talc, when it grows in an asbestiform habit; 237

    and 2) IARC’s assertion that asbestos and its risks apply to chrysotile, actinolite,



    233
       IARC Monograph on Carbon Black, Titanium Dioxide, and Talc, Volume 93
    (2010) at 39 (emphasis supplied), relevant excerpts attached hereto as Exhibit 63.
    234
          IARC, 2010 (Exhibit 63) at 39 (emphasis supplied).
    235
          IARC, 2012 at 219 (emphasis supplied).
    236
          IARC, 2012 at 230.
    237
          IARC, 2010 (Exhibit 63) at 39 (emphasis supplied).
                                              63
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    amosite, anthophyllite, crocidolite, and tremolite (types of asbestos), “and that

    includes talc containing asbestiform fibres,” 238 wherein the ‘asbestiform fibers’ can

    be either asbestos or asbestiform (fibrous) talc. The PSC’s experts all 239 use

    consistent definitions for ‘fibrous talc,’ including Drs. Longo and Rigler (i.e., “talc

    with asbestiform fibers or asbestiform talc.”). 240

             Given the clarity of the literature, J&J’s arguments 1) that the PSC’s experts

    improperly rely on literature to support opinions that fibrous talc can cause cancer,

    and 2) that this literature refers to “talc that is intergrown with asbestos,” 241 or “talc

    intergrown on a nanoscale with other minerals…” 242 (indicating it is talc containing

    asbestos, rather than talc in asbestiform habit as defined by IARC) are disingenuous

    and incorrect. 243 Based on the IARC, 2012 definitions, the carcinogenic risks that

    apply to asbestos (a Group I carcinogen) also apply to fibrous talc. As a result, the




    238
          IARC, 2012 at 219 (emphasis supplied).
    239
      The PSC’s experts being criticized by J&J includes Drs. Longo, Rigler,
    McTiernan, Smith, Wolf, Plunkett, Zelikoff, Cook, Singh and Smith-Bindman.
    240
       Longo’s definition of ‘fibrous talc’ as reiterated in J&J’s “Heavy Metals and
    Fragrances” brief at 58.
    241
          Def. Mem. at 3, 57.
    242
          Def. Mem. at 60.
    243
      J&J criticizes the PSC’s experts Drs. McTiernan, Smith, Wolf, Plunkett, Zelikoff,
    Cook, Singh, Smith-Bindman and Krekeler (Def. Mem. at 58-59, and 61.).
                                                64
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    PSC’s experts Longo and Rigler included asbestos fibers as well as fibrous talc in

    their analyses of the J&J talcum powder product samples. 244

             J&J argues that IARC “clearly states” that elongated mineral fragments “not

    ‘intergrown’ with asbestos – i.e., the talc that Drs. Longo and Rigler call fibrous talc

    – are not carcinogenic.” 245 In support, J&J quotes a passage from IARC, stating it is

    applicable to talc. In reality, the quote omits a portion of the passage that makes it

    clear the reference is to other mineral fragments that can occur in asbestiform habit

    to constitute asbestos—the reference is improperly quoted and inapplicable.

    J&J quotes the following passage to apply to talc:

                   …talc “may…be elongated without being asbestiform”
                   and therefore without being dangerous. 246 (underline
                   added).

    The full quote reads:

                   Asbestos is a commercial term that describes six minerals
                   that occur in the asbestiform habit: actinolite,
                   anthophyllite, chrysotile, grunerite, riebeckite and
                   tremolite (IARC, 1977). Similarly, to talc, these six
                   minerals occur more commonly in a non-asbestiform
                   habit, and may also be elongated without being
                   asbestiform. Actinolite, anthophyllite and tremolite may
                   occur in some talc deposits; when asbestiform, they
                   constitute asbestos… 247

    244
          Longo MDL Report at 1-6.
    245
          Def. Mem. at 60.
    246
          Def. Mem. at 61, citing to IARC, 2010 at 277.
    247
          IARC, 2010 (Exhibit 63) at 277.
                                              65
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    The passage quoted by J&J actually clearly indicates that the six listed minerals

    (actinolite, anthophyllite, chrysotile, grunerite, riebeckite and tremolite) may be

    elongated without being asbestiform—not talc, as J&J alleges. The phrase “may also

    be elongated” in the passage refers to the minerals potentially being asbestos, as

    indicated in the previous sentence, or elongated, as in the cited sentence. J&J has

    improperly quoted IARC, 2010 to generate an incorrect standard. 248

             J&J also argues that Drs. Cook and Krekeler cite to internal documents as

    evidence of the presence of fibers or fibrous talc without any basis for assuming the

    fibers referenced were asbestos or asbestiform. 249 Here again, this argument attempts

    to conflate the terms “asbestos” and “asbestiform”—a misconception that IARC has

    endeavored to clarify since “asbestiform fibers” were classified as carcinogenic in

    1987. J&J makes the bold assertion that talc is “only rarely fibrous”—and cites

    IARC, 2012 for support. 250 The 2012 IARC monograph says no such thing, only that

    while talc particles are “normally plate-like,” they “may also form true mineral fibres




    248
       Additionally, even when different interpretations can be given to data you have
    a “classic battle of the experts, a battle in which the jury must decide the victor.”
    Lanzilotti v. Merrell Dow Pharms., Civ. A. No. 82-0183, 1986 WL 7832, at *3
    (E.D. Pa. Jul. 10, 1986) (quoting Ferebee v. Chevon Chemical Co., 736 F.2d 1529,
    1535 (D.C. Cir. 1984)).
    249
          Def. Mem. at 61.
    250
          J&J “Motion to Exclude Plaintiffs’ Experts’ General Causation Opinions” at 90.
                                              66
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    that are asbestiform in habit”—that is, fibrous talc. 251 Indeed, J&J’s own analyses

    show that fibrous talc occurred in up to 10% of the talc ore from the Hammondsville

    Mine in Vermont. 252

             Both IARC, 2012 and IARC, 2010 were dedicated to expounding on

    definitions for the inclusion of fibrous talc (talc in asbestiform habit) as a

    carcinogen. As discussed above, IARC, 2010 defines the term ‘asbestiform fiber’ to

    include talc when grown in asbestiform habit. 253 IARC, 2012 also clearly states that

    “[t]alc may also form true mineral fibres that are asbestiform in habit.” 254 This

    asbestiform talc is commonly referred to as “fibrous talc.” IARC, 2012 states that

    the carcinogenic risks of asbestos also apply to talc containing asbestos fibers (i.e.,

    asbestiform talc, commonly referred to as fibrous talc). 255

             The examples of fibrous talc cited in Dr. Cook’s report were specifically

    designated as such and came from J&J’s own internal reports—many were third-

    party testing results. J&J also argues that Dr. Cook “admits that many of them did

    not grow in a fibrous habit at all,” but that their shape could be an effect of the




    251
          IARC, 2012 at 230.
    252
        Exhibit 64, JNJS7IR_000001978-2124, Colorado School of Mines testing at
    Hammondsville mine in Vermont.
    253
        IARC, 2010 (Exhibit 63) at 39.
    254
          Id. at 230.
    255
          IARC, 2012 at 210.
                                              67
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    milling process. The PSC’s experts agree—and their reports clearly state—that both

    certain amphiboles and talc can grow in both the fibrous and non-fibrous state. 256

    They also agree that particle shape can be affected during the milling process. 257

    Nonetheless, both fibrous and non-fibrous mineral forms exist, and to assume that

    minerals specifically labeled as “fibrous” (presumably by experts in the field) are

    something other than fibrous is illogical and unsupported by the evidence. J&J’s

    argument that the mineral forms identified as fibrous are not fibrous

    contradicts the documents and has no basis in fact. Accordingly, J&J’s attempt

    to exclude the PSC’s experts’ opinions regarding the fibrous talc present in Baby

    Powder and Shower-to-Shower should be denied.

    III.     CONCLUSION

             J&J’s Motion To Exclude Plaintiffs’ Experts’ Opinions Regarding Alleged

    Heavy Metals and Fragrances In Johnson’s Baby Powder and Shower-to-Shower

    should be denied. The PSC’s experts’ opinions regarding the heavy metals, fragrance

    chemicals, and fibrous talc present in Johnson’s Baby Powder and Shower-to-

    Shower are well-founded and reliable, and the opinions should not be excluded.




    256
          Cook Report at 10, 21; Krekeler Report at 4, 5, 9.
    257
          Cook Report at 28.
                                               68
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